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Summary News Research Chart Community Statistics Document
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                                                                   Profile Filed
                                                                           Financials Analysis Options
                                                                                 03/06/25       Page 2Holders
                                                                                                       of 117Sustainability
NasdaqGS - Nasdaq Real Time Price • USD
Matthews International Corporation (MATW)                                                          Follow         Compare

26.55 -2.92(-9.93%)
At close: February 7 at 4:00:01 PM EST
26.55        +0.00+(0.02%)
After hours: February 7 at 6:55:55 PM EST
  Jun 13, 2024 - Jun 19, 2024                   Historical Prices              Daily
                                                                                                                                                                                   Currency in USD     Download
 Date                                                Open                              High                        Low                      Close                            Adj Close                   Volume
 Jun 18, 2024                                       24.29                          24.61                         23.42                        24.31                               23.89                463,400
 Jun 17, 2024                                       26.23                          26.44                         24.32                        24.57                               24.15                547,300
 Jun 14, 2024                                       26.54                           26.71                        26.15                        26.45                               25.99                190,300
 Jun 13, 2024                                       27.06                           27.19                        26.54                        27.01                               26.54                 107,600

Related Tickers
 GFF
 Griffon Corporation
                           DLX
                           Deluxe Corporation
                                                    VMI
                                                    Valmont Industries, Inc.
                                                                                  MDU
                                                                                  MDU Resources Group…
                                                                                                                BOOM
                                                                                                                DMC Global Inc.
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                                                                                                                                                                 BBU
                                                                                                                                                                 Brookfield Business Pa…
                                                                                                                                                                                             BOC
                                                                                                                                                                                             Boston Omaha Corpor…
 79.04 -2.29%              18.87 -5.74%             328.11 -0.82%                 16.57 -2.13%                  7.92 +0.13%       20.50 -2.10%                   22.69 +1.39%                14.70 -2.39%


                                                                                                                   Relax in The Peninsula
                                                                                                                   Spa & Wellness Center            R O L L   O V E R   TO
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                                         Tariffs                                              About Our Ads
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Rating Action: Moody's Ratings downgrades
Matthews' CFR to B1 from Ba3 on weakening
operating performance; outlook changed to stable
from negative

06 Aug 2024

New York, August 06, 2024 -- Moody's Ratings (Moody's) downgraded Matthews
International Corporation's ("Matthews") corporate family rating ("CFR") to B1 from
Ba3, and its probability of default rating to B1-PD from Ba3-PD. At the same time, we
also downgraded the ratings on the company's $300 million senior unsecured notes
due December 2025 to B3 from B2. The speculative grade liquidity ("SGL") rating is
SGL-2. Following the rating downgrades, we changed the outlook to stable from
negative. Matthews is a designer, manufacturer and marketer of memorialization
products, brand solutions and industrial automation solutions.
The rating downgrades were driven by weaker than anticipated operating
performance and our expectation that Matthews' revenue will decline over the next
12-18 months. We anticipate financial Debt/EBITDA leverage will remain high around
5.0x based on our calculation, and free cash flow-to-debt will be sustained in the low
single-digit range. Our expectation for weaker operating results, compared to
historical levels, combined with credit metric deterioration contributed to the rating
downgrades. The company's ongoing legal dispute with major customer, Tesla Inc.
("Tesla", Baa3 stable), was also a negative credit consideration.
RATINGS RATIONALE
Matthews' B1 CFR is constrained by recent declines in revenue and profitability
primarily in its Industrial Technologies Segment, as well as the company's high
financial leverage. We expect debt-to-EBITDA around 5x over the next 12 to 18
months. We anticipate lower sales in the company's Memorialization and Industrial
Technologies segments, along with relatively flat top-line growth in its SGK Brand
business, as price increase initiatives will not be able to fully offset diminishing
demand. The credit profile also reflects risks to the company's operating performance,
particularly due to a shift in product mix towards lower-margin offerings like cremation
and converting line products, uncertainty in its energy storage business, and higher
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costs for materials and labor.
All financial metrics cited reflect our standard adjustments.
The company's ongoing dispute with Tesla Inc., a major client of its energy storage
solutions business which has alleged that the company has misappropriated Tesla's
trade secrets, is a negative credit development. Matthews maintains that these
allegations have no substantial impact on its operations. In addition, Matthews has
experienced significant delivery delays due to Tesla's installation readiness, which
has pressured working capital and cash flow generation. The ongoing confidential
dispute with Tesla introduces considerable uncertainty regarding the long-term
prospects of Matthews' energy storage business, a component of the company's
Industrial Technologies segment (the segment accounts for 28% of revenue as of 30
June 2024). The dispute restricts Matthews' ability to market its dry battery electrode
solutions to other automakers and could potentially put the company at risk of losing
its intellectual property rights related to the technology. The dispute increases
uncertainty and could place considerable strain on Matthews' operational
performance.
Matthews' credit profile benefits from its leading position in the memorialization
segment, given the generally stable demand for its caskets and other funeral
products. The memorialization segment accounted for 46% of the revenue for the 12-
month period ending 30 June 2024, contributing high margins and predictable cash
flow to support Matthews' growth. The company is well-positioned to profit from the
industry's gradual shift from traditional burials to cremation. We also consider the
potential long-term growth of the Industrial Technologies segment a credit positive,
primarily in the energy storage solutions business, amid rising demand for energy
solutions in electric vehicles and renewable energy systems.
The B3 rating on the $300 million senior unsecured notes due December 2025 is two
notches below the B1 CFR, reflecting its junior position in the capital structure in
relation to the company's secured debt, which includes a $750 million revolving credit
facility (unrated) due 2029.
Matthews' SGL-2 rating reflects our expectation that the company will maintain a good
liquidity profile over the next 12 to 15 months, with $43 million of cash on hand as of
30 June 2024, roughly $248 million of available capacity under its $750 million
revolving credit facility due 2029 (unrated), and our expectation of free cash flow to
debt in the low single-digit percentage range over the next 12 to 15 months. As of 30
June 2024, the company had a cash flow deficit, with a negative free cash flow-to-
debt ratio of 1.4%, which we expect will improve. The company has a significant
amount of working capital tied up in the energy storage business, which could be
released as more equipment is delivered in the latter half of the fiscal year, thus
improving the company's operating cash flow. As of 30 June 2024, Matthews had
approximately $499 million in outstanding borrowings under its $750 million revolving
credit facility expiring in January 2029 (unrated). This revolver is primarily employed
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for seasonal working capital needs and discretionary purposes. Under the terms of
the revolving credit facility, Matthews is required to maintain a net leverage ratio (as
defined in the agreement) of less than or equal to 4.5x and an interest coverage ratio
of greater than or equal to 3.0x. Upon a permitted acquisition, Matthews may elect a
temporary leverage increase on a one-time basis, subject to a net leverage ratio of up
to 5.0x and a secured net leverage of up to 4.0x for the subsequent four quarters. We
expect the company to be in and maintain compliance with all covenants. Matthews
senior unsecured notes are due December 2025. We anticipate that the company will
be able to refinance this debt prior to its maturity date.
In addition, Matthews, through Matthews Receivables Funding Corporation, LLC
("Matthews RFC"), regularly sells its trade receivables up to $125 million to a financial
institution for an equivalent cash amount under a Receivables Purchase Agreement
(RPA), set to expire in March 2026. As of 30 June 2024, there was approximately
$19.9 million available under this agreement. Furthermore, Matthews, through its U.K.
subsidiary, utilizes non-recourse receivable factoring arrangements with third-party
financial institutions to assist in managing working capital. As of 30 June 2024, there
was approximately $16 million available through these arrangements.
The stable outlook reflects our expectation of a revenue decline in the low single-digit
percentage range and limited free cash flow generation over the next 12-18 months,
which could constrain the company's capacity to repay debt or invest in growth
opportunities. We anticipate that debt-to-EBITDA will remain high, around 5.0x, and
the free cash flow-to-debt ratio will be in the low single-digit percentage range. We
forecast an EBITDA margin of around 11% and interest coverage, calculated as
EBITA-to-interest expense, of at least 2x over the same period.
FACTORS THAT COULD LEAD TO AN UPGRADE OR DOWNGRADE OF THE
RATINGS
The ratings could be upgraded if Matthews demonstrates sustained revenue growth
and profit margin expansion, while maintaining debt-to-EBITDA below 4.75x. A ratings
upgrade would also require good liquidity and free cash flow-to-total-debt approaching
the high single-digit range or higher.
The ratings could be downgraded if Matthews experiences a material contraction in
revenue or profitability, free cash flow generation weakens, or liquidity deteriorates.
The ratings could also be downgraded if the company adopts more aggressive
financial policies that lead to debt-to-EBITDA remaining above 5.5x.
The principal methodology used in this rating was Business and Consumer Services
published in November 2021 and available at https://ratings.moodys.com/rmc-
documents/356424. Alternatively, please see the Rating Methodologies page on
https://ratings.moodys.com for a copy of this methodology.
Matthews (NASDAQ: MATW), headquartered in Pittsburgh, PA, is a designer,
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manufacturer and marketer of memorialization products, brand solutions and
industrial automation solutions. We expect Matthews to generate revenue of nearly
$1.8 billion in 2024.
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For further specification of Moody's key rating assumptions and sensitivity analysis,
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 1         EXHIBIT 6 TO THE DECLARATION OF JACOB MILLER IN SUPPORT OF
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 1           EXHIBIT 7 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
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 1           EXHIBIT 8 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
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                                                                      Miller Decl. ISO Matthews’
      CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
                                                                                    Mot. for TRO
     Case 5:24-cv-03615-EJD      Document 82-2   Filed 03/06/25   Page 19 of 117



 1           EXHIBIT 9 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
              OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
 2                         TEMPORARY RESTRAINING ORDER
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                                                                      Miller Decl. ISO Matthews’
      CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
                                                                                    Mot. for TRO
     Case 5:24-cv-03615-EJD      Document 82-2   Filed 03/06/25   Page 20 of 117



 1           EXHIBIT 10 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
              OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
 2                         TEMPORARY RESTRAINING ORDER
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                                                                      Miller Decl. ISO Matthews’
      CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
                                                                                    Mot. for TRO
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                Case 5:24-cv-03615-EJD           Historical Data82-2
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                                                                                03/06/25       Page 21 Holders
                                                                                                         of 117Sustainability
NasdaqGS - Nasdaq Real Time Price • USD
Matthews International Corporation (MATW)                                                       Follow         Compare

26.55 -2.92(-9.93%)
At close: February 7 at 4:00:01 PM EST
26.55        +0.00+(0.02%)
After hours: February 7 at 6:55:55 PM EST
  Feb 03, 2025 - Feb 08, 2025                     Historical Prices             Daily
                                                                                                                                                                    Currency in USD      Download
 Date                                                 Open                          High                        Low                   Close                   Adj Close                    Volume
 Feb 7, 2025                                        27.09                         27.84                       25.57                     26.55                       26.55                 768,000
 Feb 6, 2025                                        30.50                         30.96                       28.10                     29.47                       29.47                 729,000
 Feb 5, 2025                                         27.16                        27.52                       25.89                     26.74                       26.74               1,038,200
 Feb 4, 2025                                         27.81                        28.09                        27.11                     27.11                       27.11                245,600
 Feb 3, 2025                                         27.37                        28.89                       26.93                     27.94                       27.94                 178,300

Related Tickers
 GFF
 Griffon Corporation
                           DLX
                           Deluxe Corporation
                                                     VMI
                                                     Valmont Industries, Inc.
                                                                                 MDU
                                                                                 MDU Resources Group…
                                                                                                             BOOM
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 79.04 -2.29%              18.87 -5.74%              328.11 -0.82%               16.57 -2.13%                7.92 +0.13%       20.50 -2.10%          22.69 +1.39%              14.70 -2.39%

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     Case 5:24-cv-03615-EJD      Document 82-2   Filed 03/06/25   Page 22 of 117



 1           EXHIBIT 11 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
              OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
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      CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
                                                                                    Mot. for TRO
     Case 5:24-cv-03615-EJD      Document 82-2   Filed 03/06/25   Page 23 of 117



 1           EXHIBIT 12 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
              OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
 2                         TEMPORARY RESTRAINING ORDER
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      CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
                                                                                    Mot. for TRO
    Case 5:24-cv-03615-EJD                     Document 82-2                  Filed 03/06/25                         Page 24 of 117




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       --,_~   UNITED STATES PATENT AND TRA.DEMARK OFFICE
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    APPLICATIONJ',HJMBER            FILING OR 3 71 (C) DATE             FIRST NAL,1ED APPLICANT                      ATTY. DOCKET NO.ITITLE

        62/793,333                      01/16/2019                          Porter Mitchell                            MAX.409PR
                                                                                                                  CONFIRMATION NO. 1719
21269                                                                                                           IMPROPER CPOA LETTER
TROUTMAN PEPPER HAMILTON SANDERS LLP
UNION TRUST BUILDING                                                                   1111111111111111111111   ll]~!l]!U~IUl!HHU]   111111111111111   II II
501 GRANT STREET, SUITE 300
PITTSBURGH, PA 15219-4429                                                                                          Date Mailed: 12/09/2022




                            NOTICE REGARDING POWER OF ATTORNEY
This is in response to the power of attorney filed 12/06/2022. The power of attorney in this application is not
accepted for the reason(s) listed below:
  • The power of attorney has not been accepted because the party who is giving power has not been identified.
    Power of attorney may only be signed by the applicant for patent (37 CFR 1.42) or the patent owner. A party
    who is not the applicant must become the applicant in accordance with 37 CFR 1.46(c) and appoint any power
    of attorney in compliance with 37 CFR 3.71 and 3.73. For a reissue application, reexamination proceeding,
    or supplemental examination proceeding, a patent owner who was not the applicant under 37 CFR 1.46 must
    appoint any power of attorney in compliance with 37 CFR 3.71 and 3.73. See 37 CFR 1.32(b)(4).




                 /byemane-brehan/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




         186093
         DLA Piper LLP (US)/Matthews
         i 650 Market Street, Suite 5000
         Philadelphia, PA 19103
         UNITED STATES

                                                              page 1 of 1




                                                                                                                              MATTH EWS-00006487
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Case 5:24-cv-03615-EJD                                                                                               Document 82-2                                  Filed 03/06/25                                     Page 25 of 117




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[ POWER OF ATTORNEY TO PROSECUTE APPLICATIONS BEFORE THE USPTO 1
  I hereby revoke all previous powers of attorney given in the application identified in the attached
  statement under 37 CFR 3.73(c).
  I hereby appoint:

       ~~J Practitioners associated with Cu,tomer Number: 1186093
                   OR
                                                                                                                                                                                                                                                                I
       □            f'ractit;i:mer{s) named below (if mme than ten patent pr3ctitioner, ;m, to be named, then a cu,tomer number must be used):
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  As attomey(s) or agent(s) to represent the under,igned before the United States Patent and Trademark Office (USPTO) in connection with
  dny and all patent application, assigned Qrl!l( to the undersigned according to the USF'TO assignment record;; or assignment documents
  <1ttarhed to this form in ,m::ordance with 37 cm 3.73(c).

      Please change the correspondence address for the application identified in the attached statement
      under 37 CFR 3.73(c} to:

        ~ The addre,s ;i,sodated with Cu,tomer Number: 186093
                    OR

        l~J             F,rm or individua! name


                        Addre%

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                        Country
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                        Telephone                                                                                                            l Email
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      Assignee name and address: Matthews lnlemational Corporation
                                 Two NorthShore Center
                                 Pittsburgh, PA 15212
      A copy of this form, together with a statement under 37 CFR 3. 73(c) {form PTO/AIA/96 or equivalent) is required to be
      filed in each application in which this form is used. The statement under 37 CFR 3. 73(c) may be completed by one of the
      practitioners appointed in this form, and must identify the application in which this Power of Attorney is to be filed.
                                                     SIGNATURE of Assignee of Record
                  n1 e,,ffllijvid u    signdture and title is supplied below 1, authorized to act on behalf of the assignee.
                                         l
  _Signature __ f                      J -----~ l         ¼ t . . ,-...i:s.~--------\..,....... .,......, ,                                      Date                  r, ll'- _.. ·:~ l ~_, '(: () Z. 2~
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      Name Brian D. Walters                                                                                                                      Telephone                      l
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      Title Senior Vice President and General Counsel
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Case 5:24-cv-03615-EJD                   Document 82-2               Filed 03/06/25            Page 26 of 117




                                           Privacy Act Statement

The Privacy Act of 1974 {P.L. 93-579} requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary: and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
related to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and
Trademark Office may not be able to process and/or examine your submission, which may result in termination
of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the Freedom of
         Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
         may be disclosed to the Department of Justice to determine whether disclosure of these records is
         required by the Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of presenting
         evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in
         the course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress
         submitting a request involving an individual, to whom the record pertains, when the individual has
         requested assistance from the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
         having need for the information in order to perform a contract. Recipients of information shall be required
         to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system
         of records may be disclosed, as a routine use, to the International Bureau of the World Intellectual
         Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for
         purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act
         (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, General
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
         responsibility to recommend improvements in records management practices and programs, under
         authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA
         regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or
         Commerce) directive. Such disclosure shall not be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after either
         publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C.
          151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to
         the public if the record was filed in an application which became abandoned or in which the proceedings
         were terminated and which application is referenced by either a published application, an application
         open to public inspection or an issued patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
          enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or
          regulation.




                                                                                                        MATTH EWS-00006489
                                                     C317.3
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       Case 5:24-cv-03615-EJD                                 Document 82-2                        Filed 03/06/25                    Page 27 of 117



                                                                                                                                                    PTO/AIA/96 (08-12)
                                                                                                                Approved for use through 11/30/2020. 0MB 0651-0031
                                                                                           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
           Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid 0MB control number.

                                                       STATEMENT UNDER 37 CFR 3.73(c)
 Applicant/Patent owner:            Matthews International Corporation
                        62/793,333
 Application No./Patent No.:                 Filed/Issue Date: January 16, 2019

 Titled:     SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE
  Matthews International Corporation                                 , a corporation
 --------------------
 (Name of Assignee)                                                      (Type of Assignee, e.g., corporation, partnership, university, government agency. etc.)

 states that, for the patent application/patent identified above, it is (choose one of options 1, 2, 3 or 4 below):

 1.   0 The assignee of the entire right, title, and interest.
 2.   D An assignee of less than the entire right, title, and interest (check applicable box):
           LJ The extent (by percentage) of its ownership interest is ______%. Additional Statement(s) by the owners
            holding the balance of the interest must be submitted to account for 100% of the ownership interest.
           D There are unspecified percentages of ownership. The other parties, including inventors, who together own the entire
            right, title and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.
 3.   D The assignee of an undivided interest in the entirety (a complete assignment from one of the joint inventors was made).
 The other parties, including inventors, who together own the entire right, title, and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.

 4.   D The recipient, via a court proceeding or the like (e.g., bankruptcy, probate), of an undivided interest in the entirety (a
 complete transfer of ownership interest was made). The certified document(s) showing the transfer is attached.

 The interest identified in option 1, 2 or 3 above (not option 4) is evidenced by either (choose one of options A or B below):

 A.   D An assignment from the inventor(s) of the patent application/patent identified above. The assignment was recorded in
            the United States Patent and Trademark Office at Reel ______ , Frame ______ , or for which a copy
            thereof is attached.

 B.   G A chain of title from the inventor(s), of the patent application/patent identified above, to the current assignee as follows:
             1_From:       Frank Bogenstahl                                                     To:   Saueressig GmbH & Co. KG
                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 051479                , Frame 0069                   , or for which a copy thereof is attached.
             2 _From:      Rene Wolters                                                         To:   Saueressig GmbH & Co. KG
                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 051479                , Frame 0327                   , or for which a copy thereof is attached.

                                                                             [Page 1 of 2]
This collection of information is required by 37 CFR 3.73(b). The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to
process) an application. Confidentiality is governed by 35 U .S.C. 122 and 37 CFR 1 .11 and 1.14. This collection is estimated to take 12 minutes to complete, including
gathering, preparing, and submitting the completed application form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount
of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark
Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND
TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.

                           ff you need assistance in completing the form, call 1-800-PTO-9199 and select option 2.


                                                                                                                                                 MATTH EWS-00006490
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 Case 5:24-cv-03615-EJD                              Document 82-2                      Filed 03/06/25                   Page 28 of 117



                                                                                                                                               PTO/AIA/96 (08-12)
                                                                                                           Approved for use through 11/30/2020. 0MB 0651-0031
                                                                                      U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
      Under the Paperwork Reduction Act of 1995. no persons are required to respond to a collection of information unless it displays a valid 0MB control number.

                                                  STATEMENT UNDER 37 CFR 3.73{c}

3. From:    Christoph Lansing                                                To:    Saueressig GmbH & Co. KG
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 051479               , Frame 0468                  , or for which a copy thereof is attached.

4 _From:    Thomas Hackfort                                                  To:    Saueressig GmbH & Co. KG
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 051479               , Frame 0643                  , or for which a copy thereof is attached.
s. From: Kay Wolters                                                         To:    Saueressig GmbH & Co. KG
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 051479               , Frame 0789                  , or for which a copy thereof is attached.
6 _From:    Jorg Gottszky                                                    To:    Saueressig GmbH & Co. KG
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 051479               , Frame 0878                  , or for which a copy thereof is attached.

    G       Additional documents in the chain of title are listed on a supplemental sheet(s}.



0       As required by 37 CFR 3. 73(c)(1 )(i}, the documentary evidence of the chain of title from the original owner to the
        assignee was, or concurrently is being, submitted for recordation pursuant to 37 CFR 3.11.
        [NOTE: A separate copy (i.e., a true copy of the original assignment document(s)) must be submitted to Assignment
        Division in accordance with 37 CFR Part 3, to record the assignment in the records of the USPTO. See MPEP 302.08]



The undersigned (whose title is supplied below) is authorized to act on behalf of the assignee.
/Nicholas Kokkinos/                                                                                               December 6, 2022
Signature                                                                                                        Date

Nicholas Kokkinos                                                                                                76,979
Printed or Typed Name                                                                                            Title or Registration Number
                                                                  [Page 2 of 2]




                                                                                                                                     MATTH EWS-00006491
                                                                     C317.5
                                                                                                                                            AHB07728
 Case 5:24-cv-03615-EJD                    Document 82-2              Filed 03/06/25           Page 29 of 117



                                             Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is 35
U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the
information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission related
to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and Trademark
Office may not be able to process and/or examine your submission, which may result in termination of proceedings
or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the Freedom of
         Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
         may be disclosed to the Department of Justice to determine whether disclosure of these records is
         required by the Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of presenting
         evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the
         course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress
         submitting a request involving an individual, to whom the record pertains, when the individual has
         requested assistance from the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
         having need for the information in order to perform a contract. Recipients of information shall be required
         to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system of
         records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
         Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for
         purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act
         (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, General
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
         responsibility to recommend improvements in records management practices and programs, under
         authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA
         regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or
         Commerce) directive. Such disclosure shall not be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after either
         publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C.
         151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the
         public if the record was filed in an application which became abandoned or in which the proceedings were
         terminated and which application is referenced by either a published application, an application open to
         public inspection or an issued patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




                                                                                                        MATTH EWS-00006492
                                                      C317.6
                                                                                                              AHB07729
Case 5:24-cv-03615-EJD       Document 82-2       Filed 03/06/25    Page 30 of 117




Supplemental Sheet to Statement Under 37 C.F.R. § 3.73(c) (CONTINUATION OF
PART B)

Application 62/793,333


7.    From: Saueressig GMBH & Co. KG to:        Matthews International GMBH
The document was recorded in the United States Patent and Trademark Office at
Reel 051566 , Frame 0841 or for which a copy thereof is attached.

8.     From: Matthews International GMBH    to:     Matthews International
Corporation      . The document was recorded in the United States Patent and
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                                                                          MATTH EWS-00006493
                                      C317.7
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     Case 5:24-cv-03615-EJD                    Document 82-2             Filed 03/06/25                     Page 31 of 117



                                    Electronic Acknowledgement Receipt

                        EFS ID:                        47153851


                 Application Number:                   62793333


          International Application Number:

                Confirmation Number:                   1719




                  Title of Invention:                  SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




         First Named Inventor/Applicant Name:          Porter Mitchell


                  Customer Number:                     21269


                         Filer:                        Nicholas Charalambos Kokkinos/Charles Vrscak


                 Filer Authorized By:                  Nicholas Charalambos Kokkinos


               Attorney Docket Number:                 MAX.409PR


                    Receipt Date:                      06-DEC-2022


                     Filing Date:                      16-JAN-2019


                     Time Stamp:                       15:32:58


                  Application Type:                    Provisional


Payment information:
Submitted with Payment                               I no
File Listing:
 Document                                                                              File Size(Bytes}/                    Multi         Pages
                     Document Description                   File Name
  Number                                                                               Message Digest                      Part /.zip   (if appl.)

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     1             Miscellaneous Incoming Letter                                                                              no             1
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      Case 5:24-cv-03615-EJD                  Document 82-2              Filed 03/06/25                            Page 32 of 117


Information:

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     2                  Power of Attorney                      POA.pdf                                                                no      2
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     3                                                 373c_Stmnt_6Dec2022.pdf                                                        no      3
                            CFR 3.73
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Warnings:
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New AQQlications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b}-(d) and MPEP 506}, a Filing Receipt (37 CFR 1.54} will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International AQQlication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International AQQlication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105} will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.




                                                                                                                                   MATTH EWS-00006495
                                                          C317.9
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Case 5:24-cv-03615-EJD                 Document 82-2             Filed 03/06/25          Page 33 of 117



Attorney Docket No.: 132258-016800

                 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

 [n re Application of                                         Frank Bogenstahl, et al.
 Application No.                                              62/793,333
 Filed                                                        January 16, 2019
 Group Art Unit                                               NIA
 Confirmation No.                                             1719
 Examiner                                                     NIA
 For: SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE


                             SUBMISSION OF POWER OF ATTORNEY
                                AND STATEMENT UNDER 3.73(c)

Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Sir:
                Applicant respectfully submits the attached Power of Attorney and Statement Under
3. 73( c) for Matthe\vs International Corporation in the above-identified application.

                Applicant believes no fees are associated with this filing. Hmvever, please charge any
shortage in fees due or credit any excess fees in connection with the filing of these papers to Deposit
Account No. 60-4406.

                                                   Respectfully submitted,
                                                   DLA Piper LLP (US)
                                                   /Nicholas Kokkinosl

                                                   Nicholas Kokkinos
                                                   Reg. No. 76,979

DLA PIPER LLP (US)
1650 Market Street, Suite 5000
Philadelphia, PA 19103-7348
Telephone: (215) 656-3300
Date: December 6, 2022




                                                                                              MATTH EWS-00006496
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    Case 5:24-cv-03615-EJD                   Document 82-2                  Filed 03/06/25                           Page 34 of 117




               UNITED STATES PATENT AND TRA.DEMARK OFFICE
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                                                                                       United States Patent and Trademark Office
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    APPLICATIONJ',HJMBER          FILING OR 3 71 (C) DATE             FIRST NAL,1ED APPLICANT                        ATTY. DOCKET NO.ITITLE

        62/793,333                    01/16/2019                          Porter Mitchell         MAX.409PR
                                                                                             CONFIRMATION NO. 1719
21269                                                                                POA ACCEPTANCE LETTER
PEPPER HAMILTON LLP
UNION TRUST BUILDING
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PITTSBURGH, PA i 5219-4429
                                                                                                                     Date Mailed: 03/02/2020




                           NOTICE OF ACCEPTANCE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 02/25/2020.
The Power of Attorney in this application is accepted. Correspondence in this application will be mailed to the
above address as provided by 37 CFR 1.33.




                                   Questions about the contents of this notice and the
                                requirements it sets forth should be directed to the Office
                                  of Data Management, Application Assistance Unit, at
                                 (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                 /qtran/




                                                            page 1 of 1




                                                                                                                               MATTH EWS-00006497
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Case 5:24-cv-03615-EJD                                     Document 82-2                             Filed 03/06/25                         Page 35 of 117




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                                                                                                             Approved for use through 01/31/2018. 0MB 0651-0035
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   POWER OF ATTORNEY TO PROSECUTE APPLICATIONS BEFORE THE USPTO
    ! hereby revoke al! previous powers of attorney given in the application identified in the attached
    statement under 37 CFR 3.73(c).
    I hereby appoint:
                Practitioners associated with Customer Number:
                                                                           121269
                OR
       □        Practitioner(s) named below (if more than ten patent practitioners are to be named, then a customer number must be used):

                                                                 Registration                                                                  Registration
                                  Name                                                                          Name
                                                                  Number                                                                        Number




   As attorney(s) or agent(s) to represent the undersigned before the United States Patent and Trademark Office (USPTO) in connection with
   any and all patent applications assigned .2.!J.!:v: to the undersigned according to the USPTO assignment records or assignment documents
   attached to this form in accordance with 37 CFII 3.73{c).

   Please change the correspondence address for the application identified in the attached statement
   under 37 CFR 3.73(c) to:
      [x-J      The address associated with Customer Number:               21269
                OR

      □
                  Firm or individual name


                  Address

                  City                                                                 State                                    Zip

                  Country

                  Telephone                                                            Email

   Assignee name and address: MATTHEWS INTERNATIONAL CORPORATION
                                         Two NorthShore Center
                                         Pittsburgh, PA 15212

   A copy of this form, together with a statement under 37 CFR 3.73(c) (Form PTO/AIA/96 or equivalent) is required to be
   filed in each application in which this form is used. The statement 1.mder 37 CFR 3.73(cl may be completed by one of the
   practitioners a pointed in this form, and must identify the application in which this Power of Attorney is to be filed.
                                                  SIGNATURE of Assignee of Record
                                           ure and title is supplied below is authorized to act on behalf of the assi nee.
                                                                                       Date            ()
   Name                                                                                Telephone
   Title                                                                        I
 This collection of information is required by 37 CFR 1.31, 1.32, and 1.33. The information ls required to obtain or retain a benefit by the public, which i~ to update
 (and by the USPTO to process} the file of a patent or reexamination proceeding. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This
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                                          If you need assistance in completing the form, r:o/11-1100-PT0-9199 and se/er:t option 2.




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       Case 5:24-cv-03615-EJD                                 Document 82-2                        Filed 03/06/25                    Page 36 of 117



                                                                                                                                                    PTO/AIA/96 (08-12)
                                                                                                               Approved for use through 01/31/2013. 0MB 0651-0031
                                                                                           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                       STATEMENT UNDER 37 CFR 3.73(c)
 Applicant/Patent Owner: Matthews International Corporation
 Application No./Patent No.: 621793 ,333                                                    Filed/Issue Date: _J_a_n_u_a_ry_1_6_,_2_0_1_9_ _ _ _ _ __
 Titled:     SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE
  Matthews International Corporation                                 , a corporation
 --------------------
 (Name of Assignee)                                                      (Type of Assignee, e.g., corporation, partnership, university, government agency. etc.)

 states that, for the patent application/patent identified above, it is (choose one of options 1, 2, 3 or 4 below):

 1. 0 The assignee of the entire right, title, and interest.
 2. D An assignee of less than the entire right, title, and interest (check applicable box):
     LJ The extent (by percentage) of its ownership interest is ______%. Additional Statement(s) by the owners
            holding the balance of the interest must be submitted to account for 100% of the ownership interest.
           D There are unspecified percentages of ownership. The other parties, including inventors, who together own the entire
            right, title and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.
 3.   D The assignee of an undivided interest in the entirety (a complete assignment from one of the joint inventors was made).
 The other parties, including inventors, who together own the entire right, title, and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.

 4.   D The recipient, via a court proceeding or the like (e.g., bankruptcy, probate), of an undivided interest in the entirety (a
 complete transfer of ownership interest was made). The certified document(s) showing the transfer is attached.

 The interest identified in option 1, 2 or 3 above (not option 4) is evidenced by either (choose one of options A or B below):

 A.   D An assignment from the inventor(s) of the patent application/patent identified above. The assignment was recorded in
            the United States Patent and Trademark Office at Reel ______ , Frame ______ , or for which a copy
            thereof is attached.

 B.   0 A chain of title from the inventor(s), of the patent application/patent identified above, to the current assignee as follows:
             1_From: Frank Bogenstahl                                                           To: Saueressig GMBH & Go. KG

                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 05 147 9     , Frame 00 69          , or for which a copy thereof is attached.
             2 _From: Rene Wolters                                                              To: Saueressig GMBH & Go. KG

                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 051479       , Frame 03 27          , or for which a copy thereof is attached.

                                                                             [Page 1 of 2]
This collection of information is required by 37 CFR 3.73(b). The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to
process) an application. Confidentiality is governed by 35 U .S.C. 122 and 37 CFR 1 .11 and 1.14. This collection is estimated to take 12 minutes to complete, including
gathering, preparing, and submitting the completed application form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount
of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information O11icer, U.S. Patent and Trademark
O11ice, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND
TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.

                           ff you need assistance in completing the form, call 1-800-PTO-9199 and select option 2.


                                                                                                                                                 MATTH EWS-00006499
                                                                             C317.13
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 Case 5:24-cv-03615-EJD                              Document 82-2                      Filed 03/06/25                   Page 37 of 117



                                                                                                                                               PTO/AIA/96 (08-12)
                                                                                                          Approved for use through 01/31/2013. 0MB 0651-0031
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                                                  STATEMENT UNDER 37 CFR 3.73{c}


3 _From: Christoph Lansing                                                   To: Saueressig GMBH & Go. KG

                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 05 147 9     , Frame 0468           , or for which a copy thereof is attached.
4. From: Kay Wolters                                                         To: Saueressig GMBH & Go. KG

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5 _From: Thomas Hackfort                                                     To: Saueressig GMBH & Go. KG

                     The document was recorded in the United States Patent and Trademark Office at
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6 _From: Jorg Gottszky                                                       To: Saueressig GMBH & Go. KG

                     The document was recorded in the United States Patent and Trademark Office at
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    G       Additional documents in the chain of title are listed on a supplemental sheet(s}.



0       As required by 37 CFR 3. 73(c)(1 )(i}, the documentary evidence of the chain of title from the original owner to the
        assignee was, or concurrently is being, submitted for recordation pursuant to 37 CFR 3.11.
        [NOTE: A separate copy (i.e., a true copy of the original assignment document(s)) must be submitted to Assignment
        Division in accordance with 37 CFR Part 3, to record the assignment in the records of the USPTO. See MPEP 302.08]



The undersigned (whose title is supplied below) is authorized to act on behalf of the assignee.
/Nicholas Kokkinos/                                                                                               February 25, 2020
Signature                                                                                                        Date
Nicholas Kokkinos                                                                                                76,979
Printed or Typed Name                                                                                            Title or Registration Number
                                                                  [Page 2 of 2]




                                                                                                                                     MATTH EWS-00006500
                                                                   C317.14
                                                                                                                                            AHB07737
 Case 5:24-cv-03615-EJD                    Document 82-2              Filed 03/06/25           Page 38 of 117



                                             Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
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         purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act
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    8.   A record from this system of records may be disclosed, as a routine use, to the public after either
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         151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the
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                                                                                                        MATTH EWS-00006501
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Case 5:24-cv-03615-EJD       Document 82-2       Filed 03/06/25    Page 39 of 117




Supplemental Sheet to Statement Under 37 C.F.R. § 3.73(c) (CONTINUATION OF
PART B)

Application 62/793,333


7.    From: Saueressig GMBH & Co. KG to:        Matthews International GMBH
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8.     From: Matthews International GMBH    to:     Matthews International
Corporation      . The document was recorded in the United States Patent and
Trademark Office at Reel 051888 , Frame 0521 , or for which a copy thereof is
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                                                                          MATTH EWS-00006502
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                                                                                AHB07739
     Case 5:24-cv-03615-EJD                   Document 82-2             Filed 03/06/25                   Page 40 of 117



                                    Electronic Acknowledgement Receipt

                       EFS ID:                        38686368


                 Application Number:                  62793333


          International Application Number:

                Confirmation Number:                  1719




                  Title of Invention:                 SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




         First Named Inventor/Applicant Name:         Porter Mitchell


                  Customer Number:                    20995


                         Filer:                       Nicholas Charalambos Kokkinos/Charles Vrscak


                 Filer Authorized By:                 Nicholas Charalambos Kokkinos


              Attorney Docket Number:                 MAX.409PR


                    Receipt Date:                     25-FEB-2020


                     Filing Date:                     16-JAN-2019


                     Time Stamp:                      15:48:08


                  Application Type:                   Provisional


Payment information:
Submitted with Payment                              I no
File Listing:
 Document                                                                           File Size(Bytes}/                    Multi         Pages
                     Document Description                  File Name
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     1                   Power of Attorney                                                                                 no             1
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       Case 5:24-cv-03615-EJD                         Document 82-2                    Filed 03/06/25                              Page 41 of 117


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                  Assignee showing of ownership per 37        Suppl_373c_Stmnt_25Feb2020
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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.




                                                                                                                                                   MATTH EWS-00006504
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   Case 5:24-cv-03615-EJD                      Document 82-2                  Filed 03/06/25                       Page 42 of 117




               UNITED STATES PATENT AND TRA.DEMARK OFFICE
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    APPLICATIONJ',HJMBER            FILING OR 3 71 (C) DATE             FIRST NAL,1ED APPLICANT                     ATTY. DOCKET NO.ITITLE

        62/793,333                      01/16/2019                          Porter Mitchell           MAX.409PR
                                                                                                 CONFIRMATION NO. 1719
20995                                                                                  37 CFR 1.48(d)
KNOBBE MARTENS OLSON & BEAR LLP                                                        ACKNOWLEDGEMENT LETTER
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IRVINE, CA 92614
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                 NOTICE OF ACCEPTANCE OF REQUEST UNDER 37 CFR 1.48(d)
This is in response to the applicant's request under 37 CFR 1.48(d) submitted on 02/25/2019.
"> The request under 37 CFR 1.48(d) to correct the inventorship, to correct or update the name of an inventor, or
to correct the order of names of joint inventors is accepted.
                                  Questions about the contents of this notice and the
                               requirements it sets forth should be directed to the Office
                                 of Data Management, Application Assistance Unit, at
                                (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                 /byemane-brehan/




                                                              page 1 of 1




                                                                                                                                  MATTH EWS-00006505
                                                              C317.19
                                                                                                                                        AHB07742
   Case 5:24-cv-03615-EJD                 Document 82-2             Filed 03/06/25                      Page 43 of 117




                UNITED STATES PATENT AND TRA.DEMARK OFFICE
                                                                             Ul\TfF.D STI\TF.S DF.PA RTMF.'ll'f OF f:OMMF.Rf:F.
                                                                             United States Patent and Trademark Office
                                                                            Adiliess. <=()MM[SSI(l'-'ER FOR PATENTS



  APPLICATION      FILING or   GRPART
   NUMBF-1{       37l(c)DATE     UNJT      FIL FEE REC'D             ATTY.DOCKET.NO                         TOT CLAIMS IND CLAIMS
  62/793,333      01/16/2019                   280                   MAX.409PR
                                                                                    CONFIRMATION NO.1719
20995                                                                        UPDATED FILING RECEIPT
KNOBBE MARTENS OLSON & BEAR LLP
2040 MAIN STREET                                                            1111111111111111111111   m~mll!UI~   1111111111111111111111111111111
FOURTEENTH FLOOR
IRVINE, CA 92614
                                                                                                        Date Mailed: 02/27/2019




Receipt is acknowledged of this provisional patent application. It will not be examined for patentability and will
become abandoned not later than twelve months after its filing date. Any correspondence concerning the application
must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE, NAME OF
APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection. Please verify
the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please submit
a written request for a Filing Receipt Correction. Please provide a copy of this Filing Receipt with the
changes noted thereon. If you received a "Notice to File Missing Parts" for this application, please submit
any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                    Porter Mitchell, Chandler, AZ;
                    Frank Bogenstahl, Ahaus - Wessum, GERMANY;
                    Rene Wolters, Stadtlohn, GERMANY;
                    Christoph Lansing, Vreden, GERMANY;
                    Jorg Gottszky, Vreden, GERMANY;
                    Kay Wolters, Stadtlohn, GERMANY;
                    Thomas Hackfort, Ahaus - Alstatte, DE;
Applicant( s)
                    Maxwell Technologies, Inc., San Diego, CA;
Power of Attorney:
Ian Gillies--62280


Permission to Access Application via Priority Document Exchange: Yes

Permission to Access Search Results: Yes

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.


Projected Publication Date: None, application is not eligible for pre-grant publication
Non-Publication Request: No
Early Publication Request: No
                                                      page 1 of 3




                                                                                                                MATTH EWS-00006506
                                                      C317.20
                                                                                                                         AHB07743
    Case 5:24-cv-03615-EJD                  Document 82-2             Filed 03/06/25           Page 44 of 117




Title
             SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
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can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.

For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
this website includes self-help "toolkits" giving innovators guidance on how to protect intellectual property in specific
countries such as China, Korea and Mexico. For questions regarding patent enforcement issues, applicants may
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                                Title 35, United States Code, Section 184
                           Title 37, Code of Federal Regulations, 5.11 & 5.15
GRANTED

The applicant has been granted a license under 35 U.S.C. 184, if the phrase "IF REQUIRED, FOREIGN FILING
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the conditions for issuance of a license have been met, regardless of whether or not a license may be required as
set forth in 37 CFR 5.15. The scope and limitations of this license are set forth in 37 CFR 5.15(a) unless an earlier

                                                       page 2 of 3




                                                                                                       MATTH EWS-00006507
                                                      C317.21
                                                                                                             AHB07744
    Case 5:24-cv-03615-EJD                  Document 82-2             Filed 03/06/25           Page 45 of 117




license has been issued under 37 CFR 5.15(b). The license is subject to revocation upon written notification. The
date indicated is the effective date of the license, unless an earlier license of similar scope has been granted under
37 CFR 5.13 or 5.14.

This license is to be retained by the licensee and may be used at any time on or after the effective date thereof unless
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The grant of a license does not in any way lessen the responsibility of a licensee for the security of the subject matter
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security or the export of technical data. Licensees should apprise themselves of current regulations especially with
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State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
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if a license is desired before the expiration of 6 months from the filing date of the application. If 6 months has lapsed
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U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).



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                                                       page 3 of 3




                                                                                                        MATTH EWS-00006508
                                                      C317.22
                                                                                                             AHB07745
Case 5:24-cv-03615-EJD              Document 82-2          Filed 03/06/25      Page 46 of 117



Docket No.:     MAX.409PR                                                           Page 1 of2
              Please Direct All Correspondence to Customer Number 20995

                         REQUEST TO CORRECT INVENTORSHIP

 Inventor           Porter Mitchell, et al.

 App. No            62/793333

 Filed              January 16, 2019

 For                SYSTEM AND ~IETHODS FOR
                    MANUFACTURING A DRY
                    ELECTRODE
 Examiner           Unassigned

 Art Unit           Unassigned

 Conf. No.          1719


Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450


Dear Commissioner:
         Pursuant to 37 CFR 1.48(d), this Request is being made to correct inventorship in the
above-identified provisional application to reflect the following inventors:
            • Porter Mitchell
            • Frank Bogenstahl
            • Kay Walters
            • Thomas Hackfort
            • Rene Wolters
            • Christoph Lansing; and
            • J 6rg Gottszky


    In accordance with 37 C.F.R. §1.48, Applicants hereby request that the following Inventors,
Frank Bogenstahl, Rene Walters, Christoph Lansing, and forg Gottszky, be added to the
inventorship of the present Application.




                                                                                    MATTH EWS-00006509
                                              C317.23
                                                                                         AHB07746
Case 5:24-cv-03615-EJD                Document 82-2      Filed 03/06/25       Page 47 of 117



Docket No.:     MAX.409PR                                                     February 25, 2019
App. No.:       62/793333                                                           Page 2 of 2
              Please Direct All Correspondence to Customer Number 20995

       This Request is accompanied by an Application Data Sheet and the processing fee of $50
as directed under 37 CFR 1. l 7(q).
       Please charge any additional fees, including any fees for additional extension of time, or
credit overpayment to Deposit Account No. 11-1410.
                                             Respectfully submitted,
                                             KNOBBE MARTENS OLSON & BEAR LLP




Dated: February 25, 2019                     By: /Ian W. Gillies/
                                                Ian W. Gillies
                                                Registration No. 62,280
                                                Registered Practitioner
                                                Customer No. 20995
                                                (415) 954-4114




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                                            C317.24
                                                                                          AHB07747
Case 5:24-cv-03615-EJD          Document 82-2       Filed 03/06/25   Page 48 of 117



                                                               Docket Number: MAX.409PR




APPLICATION DATA SHEET



Application Information
Application Number:                   62/793333
Filing Date:                          January 16, 201 9
Application Type:                     Provisional
Subject Matter:                       Utility
CD-ROM or CD-R?:                      None
Title:                                SYSTEM AND METHODS FOR MANUFACTURING
                                      A DRY ELECTRODE
Attorney Docket Number:               MAX.409PR
Request for Early Publication?:       No
Request for Non-Publication?:         No
Suggested Drawing Figure:             None
Total Drawing Sheets:                 12
Small Entity?:                        No


Inventor Information
Status:                      Full Capacity
Given Name:                  Porter
Middle Name:
Family Name:                 Mitchell
Name Suffix:
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State or Prov. of Residence: AZ
Country of Residence:        us
Street:                      3888 Calle Fortunada
City:                        San Diego
State or Province:           CA
                                                62/793333            Filed: January 16, 2019




                                                                            MATTHEWS-00006511
                                        C317.25
                                                                                 AHB07748
Case 5:24-cv-03615-EJD         Document 82-2       Filed 03/06/25   Page 49 of 117



                                                              Docket Number: MAX.409PR




Country:                       us
Postal or Zip Code:            92123




Inventor Information
Status:                        Full Capacity
Given Name:                    Frank
Middle Name:
Family Name:                   Bogenstahl
Name Suffix:
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City:                          Ahaus - Wessum
State or Province:
Country:                       DE
Postal or Zip Code:            48683




Inventor Information
Status:                        Full Capacity
Given Name:                    Rene
Middle Name:
Family Name:                   Wolters
Name Suffix:
City of Residence:             Stadtlohn
State or Prov. of Residence:
Country of Residence:          DE
                                    2          62/793333            Filed: January 16, 2019




                                                                           MATTH EWS-00006512
                                         C317.26
                                                                                AHB07749
Case 5:24-cv-03615-EJD         Document 82-2       Filed 03/06/25   Page 50 of 117



                                                              Docket Number: MAX.409PR




Street:                        Burgermeister-Bitting-Str.15
City:                          Stadtlohn
State or Province:
Country:                       DE
Postal or Zip Code:            48703




Inventor Information
Status:                        Full Capacity
Given Name:                    Christoph
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Family Name:                   Lansing
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Country of Residence:          DE
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City:                          Vreden
State or Province:
Country:                       DE
Postal or Zip Code:            48691




Inventor Information
Status:                        Full Capacity
Given Name:                    Jorg
Middle Name:
Family Name:                   Gottszky
Name Suffix:
                                    3          62/793333            Filed: January 16, 2019




                                                                           MATTH EWS-00006513
                                         C317.27
                                                                                AHB07750
Case 5:24-cv-03615-EJD         Document 82-2       Filed 03/06/25   Page 51 of 117



                                                              Docket Number: MAX.409PR




City of Residence:             Vreden
State or Prov. of Residence:
Country of Residence:          DE
Street:                        Rentmeisterskamp 1 3
City:                          Vreden
State or Province:
Country:                       DE
Postal or Zip Code:            48691




Inventor Information
Status:                        Full Capacity
Given Name:                    Kay
Middle Name:
Family Name:                   Wolters
Name Suffix:
City of Residence:             Vreden Stadtlohn
State or Prov. of Residence:
Country of Residence:          DE
Street:                        Gutenbergstra!Ze 1 3Kiwitt 1
City:                          Vreden Stadtlohn
State or Province:
Country:                       DE
Postal or Zip Code:            48691 48703




Inventor Information
Status:                        Full Capacity
Given Name:                    Thomas
                                    4          62/793333            Filed: January 16, 2019




                                                                           MATTH EWS-00006514
                                         C317.28
                                                                                AHB07751
Case 5:24-cv-03615-EJD         Document 82-2        Filed 03/06/25   Page 52 of 117



                                                               Docket Number: MAX.409PR




Middle Name:
Family Name:                   Hackfort
Name Suffix:
City of Residence:             Vreden Ahaus - Alstatte
State or Prov. of Residence:
Country of Residence:          DE
Street:                        Gutenbergstra!Ze 1 30ddingstra~e 3A
City:                          Vreden Ahaus - Alstatte
State or Province:
Country:                       DE
Postal or Zip Code:            48691 48683




Correspondence Information

Correspondence Customer Number:           20995
Phone Number:               (949) 760-0404
Fax Number:                 (949) 760-9502
E-Mail Address:             efiling@knobbe.com




Representative Information
Representative Customer Number:           20995


Applicant Information
Applicant Authority Type:      Assignee
Applicant Name:                Maxwell Technologies, Inc.
Street:                        3888 Calle Fortunada
City:                          San Diego
State or Province:             CA
                                    5           62/793333            Filed: January 16, 2019




                                                                            MATTH EWS-00006515
                                          C317.29
                                                                                 AHB07752
Case 5:24-cv-03615-EJD     Document 82-2      Filed 03/06/25   Page 53 of 117



                                                         Docket Number: MAX.409PR




Country:                   US
Postal or Zip Code:        92123




Dated: February 25, 2019            By:/lan W. Gillies/
                                       -  ----------------
                                       1an W. Gillies

                                       Registration No. 62,280
                                       Registered Practitioner
                                       Customer No. 20995
                                       (858) 707-4000




29841765




                                6         62/793333            Filed: January 16, 2019




                                                                      MATTH EWS-00006516
                                    C317.30
                                                                           AHB07753
          Case 5:24-cv-03615-EJD         Document 82-2             Filed 03/06/25   Page 54 of 117




                              Electronic Patent Application Fee Transmittal

 Application Number:                             62793333


 Filing Date:                                    16-Jan-2019




 Title of Invention:                             SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




 First Named Inventor/Applicant Name:            Porter Mitchell


 Filer:                                          Ian W. Gillies/Genneth Munar


 Attorney Docket Number:                         MAX.409PR


 Filed as Large Entity


Filing Fees for Provisional


                                                                                                 Sub-Total in
                         Description                     Fee Code       Quantity    Amount
                                                                                                   USD($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:




                                                                                             MATTH EWS-00006517
                                                C317.31
                                                                                                AHB07754
     Case 5:24-cv-03615-EJD                 Document 82-2        Filed 03/06/25     Page 55 of 117


                                                                                                 Sub-Total in
                      Description                       Fee Code      Quantity      Amount
                                                                                                   USD($)


Miscellaneous:


         PROCESSING FEE FOR PROVIS. APPLICATIONS          1807           1            50               50


                                                                 Total in USD ($)                 50




                                                                                             MATTH EWS-00006518
                                                   C317.32
                                                                                                AHB07755
      Case 5:24-cv-03615-EJD                       Document 82-2                  Filed 03/06/25   Page 56 of 117



                                       Electronic Acknowledgement Receipt

                          EFS ID:                               35238994


                  Application Number:                           62793333


         International Application Number:

                  Confirmation Number:                          1719




                    Title of Invention:                         SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




       First Named Inventor/Applicant Name:                     Porter Mitchell


                   Customer Number:                             20995


                           Filer:                               Ian W. Gillies/Chelsea Burdeno


                   Filer Authorized By:                         Ian W. Gillies


               Attorney Docket Number:                          MAX.409PR


                      Receipt Date:                             25-FEB-2019


                       Filing Date:                             16-JAN-2019


                      Time Stamp:                               16:40:03


                    Application Type:                           Provisional


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   CARD

Payment was successfully received in RAM                       $50

RAM confirmation Number                                         022619INTEFSW16403400

Deposit Account                                                 111410

Authorized User                                                 Chelsea Veinot

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      37 CFR 1.16 (National application filing, search, and examination fees)
      37 CFR 1.17 (Patent application and reexamination processing fees)



                                                                                                         MATTH EWS-00006519
                                                               C317.33
                                                                                                                 AHB07756
       Case 5:24-cv-03615-EJD                     Document 82-2           Filed 03/06/25                       Page 57 of 117




File Listing:
 Document                                                                                 File Size(Bytes)/                    Multi         Pages
                        Document Description                  File Name
  Number                                                                                  Message Digest                      Part /.zip   (if appl.)

                                                                                                    299247

                    Request under Rule 48 correcting
       1                                               Petition_MAX_409PR.pdf                                                    no            2
                             i nventorsh i p                                         d 1389b917884968827830b6 ·I84e00e143f0
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Warnings:
Information:

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       2                 Application Data Sheet          ADS_MAX_409PR.pdf                                                       no            6
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                                                                                                     82502




Warnings:
Information:

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      3                   Fee Worksheet (SB06)                fee-info.pdf                                                       no            2
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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b}-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54} will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International AQQlication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International AQQlication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O}, a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions concerning
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the application.




                                                                                                                              MATTH EWS-00006520
                                                        C317.34
                                                                                                                                    AHB07757
   Case 5:24-cv-03615-EJD                 Document 82-2             Filed 03/06/25               Page 58 of 117




                UNITED STATES PATENT AND TRA.DEMARK OFFICE
                                                                             Ul\TfF.D STI\TF.S DF.PA RTMF.'ll'f OF f:OMMF.Rf:F.
                                                                             United States Patent and Trademark Office
                                                                            Adiliess. <=()MM[SSI(l'-'ER FOR PATENTS



  APPLICATION      FILING or    GRPART
    NUMBF-1{      37l(c)DATE     UNJT      FIL FEE REC'D             ATTY.DOCKET.NO                     TOT CLAIMS IND CLAIMS
  62/793,333      01/16/2019                   280                   MAX.409PR
                                                                                     CONFIRMATION NO.1719
20995                                                                        FILING RECEIPT
KNOBBE MARTENS OLSON & BEAR LLP
2040 MAIN STREET                                                            1111111111111111111111 m~mll!UHtt,~1111111111111111111111111
FOURTEENTH FLOOR
IRVINE, CA 92614
                                                                                                 Date Mailed: 02/01/2019




Receipt is acknowledged of this provisional patent application. It will not be examined for patentability and will
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to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                    Porter Mitchell, Chandler, AZ;
                    Kay Wolters, Vreden, GERMANY;
                    Thomas Hackfort, Vreden, GERMANY;
Applicant( s)
                    Maxwell Technologies, Inc., San Diego, CA;
Power of Attorney:
Ian Gillies--62280


Permission to Access Application via Priority Document Exchange: Yes

Permission to Access Search Results: Yes

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.

If Required, Foreign Filing License Granted: 01/31/2019

The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 62/793,333

Projected Publication Date: None, application is not eligible for pre-grant publication

Non-Publication Request: No

Early Publication Request: No
                                                      page 1 of 3




                                                                                                              MATTH EWS-00006521
                                                      C317.35
                                                                                                                       AHB07758
    Case 5:24-cv-03615-EJD                  Document 82-2             Filed 03/06/25           Page 59 of 117




Title
             SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country. The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
patent" and does not eliminate the need of applicants to file additional documents and fees in countries where patent
protection is desired.

Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
application for patent in that country in accordance with its particular laws. Since the laws of many countries differ
in various respects from the patent law of the United States, applicants are advised to seek guidance from specific
foreign countries to ensure that patent rights are not lost prematurely.

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Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199, or it
can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.

For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
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call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).


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                           Title 37, Code of Federal Regulations, 5.11 & 5.15
GRANTED

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license has been issued under 37 CFR 5.15(b). The license is subject to revocation upon written notification. The
date indicated is the effective date of the license, unless an earlier license of similar scope has been granted under
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This license is to be retained by the licensee and may be used at any time on or after the effective date thereof unless
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The grant of a license does not in any way lessen the responsibility of a licensee for the security of the subject matter
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respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
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No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
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from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).



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                                                                DocCode - SCORE




                    SCORE Placeholder Sheet for IFW Content



Application Number: 62793333                                  Document Date: 01/16/2019



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Form Revision Date: August 26, 2013



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          Case 5:24-cv-03615-EJD                                 Document 82-2                      Filed 03/06/25                      Page 62 of 117

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                                                                       Attorney Docket Number                   MAX.409PR
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number

 Title of Invention           SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE

 The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
 bibliographic data arranged in a format specified by the United Slates Patent and Trademark Office as outlined in 37 CFR 1.76.
 This document may be completed electronically and submitted lo the Office in electronic format using the Electronic Filing System (EFS) or the
 document may be printed and included in a paper filed application.


Secrecy Order 37 CFR 5.2:
 D Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
       37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

Inventor Information:
 Inventor 11                                                                                                                       I Remove       I
 legal Name

 Prefix Given Name                                               Middle Name                                     Family Name                                         Suffix

 I      B t>orter
     Residence Information (Select One)
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                                                                                               Non US Residency
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                                                                                                                                   Active US Military Service
                                                                                                                                                                     I     B
                                                            •   US Residency
 City      J:;handler                                    I State/Province I J\z I Country of ResidencJ I t,Js
Mailing Address of Inventor:

 Address 1                               B888 Calle Fortunada

 Address 2
 City              I t,an Diego                                                             I State/Province                 I FA
 Postal Code                           I ~2123                                      I Countryi              I 1us
 Inventor         b                                                                                                                I Remove       I
 legal Name

 Prefix Given Name                                               Middle Name                                     Family Name                                         Suffix

 I     B   J<.ay                                                 I                                              tNolters                                             I     B
     Residence Information (Select One)                    0 US Residency                •     Non US Residency                    Active US Military Service

City      ~reden                                                  IICountry of Residence i                                        l~E                                        I




Mailing Address of Inventor:

 Address 1                               GutenbergstraBe 1-3

 Address 2
 City              I tJreden                                                                I State/Province                 11
 Postal Code                           I ~8691                                      I Countryi              I l□ E
 Inventor
 legal Name
                  6                                                                                                                I Remove I

 Prefix Given Name                                               Middle Name                                     Family Name                                         Suffix

 I      B (rhomas                                                I
                                                                                                                l,ackfort                                            I     B
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                                                                   Attorney Docket Number                   MAX.409PR
 Application Data Sheet 37 CFR 1. 76
                                                                   Application Number

 Title of Invention        SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE


  Residence Information (Select One)                    0 US Residency              @ Non US Residency                       Active US Military Service

City     l~reden                                              IICountry of Residence i                                      l~E                                        I



Mailing Address of Inventor:
 Address 1                           ~utenbergstral1e 1-3
 Address 2
 City            I t,,reden                                                            I State/Province                11
 Postal Code                        I ~8691                                     I Countryi              I IDE
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
                                                                                                                                          Add
 generated within this form by selecting the Add button.                                                                              I            I

Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

 D An Address is being provided for the correspondence Information of this application.
 Customer Number                      R0995

 Email Address                        efiling@knobbe.com
                                                                                                                    I I Add Email I               IRemove Email I
Application Information:
 Title of the Invention                SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE

 Attorney Docket Number                MAX.409PR                                        I Small Entity Status Claimed                     □
 Application Type                      Provisional                                                                                                                    "
 Subject Matter                        Utility                                                                                                                        ,.

 Total Number of Drawing Sheets (if any)                        1112                      I Suggested Figure for Publication (if any) 11
Filing By Reference:
Only complete this section when filing an application by reference under 35 U.S.C. 111 (c) and 37 CFR 1.57(a). Do not complete this section if
application papers including a specification and any drawings are being filed. Any domestic benefit or foreign priority information must be
provided in the appropriate section(s) below (i.e., "Domestic Benefit/National Stage Information" and "Foreign Priority Information").

For the purposes of a filing date under 37 CFR 1.53(b), the description and any drawings ofthe present application are replaced by this
reference to the previously filed application, subject to conditions and requirements of 37 CFR 1.57(a).
 Application number of the previously                 Filing date {YYYY-MM-DD)                                     Intellectual Property Authority or Country
 filed application




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                                                                   Attorney Docket Number                   MAX.409PR
 Application Data Sheet 37 CFR 1. 76
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 Title of Invention        SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE


 Publication Information:
 D     Request Early Publication (Fee required at time of Request 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under
       35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
 □
       subject of an application filed in another country, or under a multilateral international agreement, that requires
       publication at eighteen months after filing.




Representative Information:
 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.



 Please Select One:
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Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, 365(c), or 386(c) or indicate
National Stage entry from a PCT application. Providing benefit claim information in the Application Data Sheet constitutes
the specific reference required by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the "Application Number" field blank.

     Prior Application Status         I                                        I..                                                    I Remove I
                                                                                                                                   Filing or 371 (c) Date
     Application Number                          Continuity Type                      Prior Application Number                        (YYYY-MM-DD)


 I                                    I                                        I..                                           I
 Additional Domestic Benefit/National Stage Data may be generated within this form
                                                                                                                                          Add
 by selecting the Add button.                                                                                                         I            I




Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1 55 When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (PDX)i the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(i){1) and (2). Under the POX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55{g)(1 ).


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                                                                  Attorney Docket Number                   MAX.409PR
Application Data Sheet 37 CFR 1. 76
                                                                  Application Number

Title of Invention        SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE


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     Application Number                            Countryi                   Filing Date (YYYY-MM-DD)                         Access Codei (if applicable)

I                                    I                                       I
Additional Foreign Priority Data may be generated within this form by selecting the
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Add button.                                                                                                                           I            I




Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications
     This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
     contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
0    16,2013.
     NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this application, with a filing date on or after March
     16, 2013, will be examined under the first inventor to file provisions of the AIA.




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                                                                  Attorney Docket Number                   MAX.409PR
 Application Data Sheet 37 CFR 1. 76
                                                                  Application Number

 Title of Invention       SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




Authorization or Opt-Out of Authorization to Permit Access:

When this Application Data Sheet is properly signed and filed with the application, applicant has provided written
authority to permit a participating foreign intellectual property (IP) office access to the instant application-as-filed (see
paragraph A in subsection 1 below) and the European Patent Office (EPO) access to any search results from the instant
application (see paragraph Bin subsection 1 below).

Should applicant choose not to provide an authorization identified in subsection 1 below, applicant must opt-out of the
authorization by checking the corresponding box A or B or both in subsection 2 below.

NOTE: This section of the Application Data Sheet is ONLY reviewed and processed with the INITIAL filing of an
application. After the initial filing of an application, an Application Data Sheet cannot be used to provide or rescind
authorization for access by a foreign IP office(s). Instead, Form PTO/SB/39 or PTO/SB/69 must be used as appropriate.


1. Authorization to Permit Access by a Foreign Intellectual Property Office{s)

A. Priority Document Exchange (PDX) - Unless box A in subsection 2 (opt-out of authorization) is checked, the
undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO), the Japan Patent Office
(JPO), the Korean Intellectual Property Office (KIPO), the State Intellectual Property Office of the People's Republic of
China (SIPO), the World Intellectual Property Organization (WIPO), and any other foreign intellectual property office
participating with the US PTO in a bilateral or multilateral priority document exchange agreement in which a foreign
application claiming priority to the instant patent application is filed, access to: (1) the instant patent application-as-filed
and its related bibliographic data, (2) any foreign or domestic application to which priority or benefit is claimed by the
instant application and its related bibliographic data, and (3) the date of filing of this Authorization. See 37 CFR 1.14(h)
(1 ).

B. Search Results from U.S. Application to EPO - Unless box B in subsection 2 (opt-out of authorization) is checked,
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results from the instant patent application when a European patent application claiming priority to the instant patent
application is filed. See 37 CFR 1.14(h)(2).

The applicant is reminded that the EPO's Rule 141 (1) EPC (European Patent Convention) requires applicants to submit a
copy of search results from the instant application without delay in a European patent application that claims priority to
the instant application.

2. Opt-Out of Authorizations to Permit Access by a Foreign Intellectual Property Office(s)

      A. Applicant DOES NOT authorize the USPTO to permit a participating foreign IP office access to the instant
D application-as-filed. If this box is checked, the USPTO will not be providing a participating foreign IP office with
     any documents and information identified in subsection 1A above.

      B. Applicant DOES NOT authorize the USPTO to transmit to the EPO any search results from the instant patent
D application. If this box is checked, the USPTO will not be providing the EPO with search results from the instant
     application.
NOTE: Once the application has published or is otherwise publicly available, the US PTO may provide access to the
application in accordance with 37 CFR 1.14.




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                                                                  Attorney Docket Number                   MAX.409PR
 Application Data Sheet 37 CFR 1. 76
                                                                  Application Number

 Title of Invention       SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.

 Applicant       11                                                                                                                   I Remove I
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                                      I Clear I
• Assignee                                   I
                                                      Legal Representative under 35 U S.C. 117
                                                                                                                         I
                                                                                                                                  Joint Inventor

    Person to whom the inventor is obligated to assign.                                        Person who shows sufficient proprietary interest
                                                                                     I
If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:

                                                                                                                       1...   1
Name of the Deceased or Legally Incapacitated Inventor: I
                                                                                                                                                                      I
 If the Applicant is an Organization check here.                       cgJ
 Organization Name
                             I J'v,axwell Technologies, Inc.
 Mailing Address Information For Applicant:
 Address 1                            3888 Calle Fortunada

 Address 2
 City                                 3an Diego                                          State/Province               CA

 Country     I ~s                                                                        Postal Code                  92123

 Phone Number                                                                            Fax Number

 Email Address


Additional Applicant Data may be generated within this form by selecting the Add button.                                              I   Add
                                                                                                                                                   I


Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title
37 of CFR to have an assignment recorded by the Office.




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                                                                                                                                           MATTH EWS-00006530
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                                                                  Attorney Docket Number                   MAX.409PR
 Application Data Sheet 37 CFR 1. 76
                                                                  Application Number

 Title of Invention        SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE



     Assignee     11
Complete this section if assignee information, including non-applicant assignee information, is desired to be included on the patent
application publication. An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the
patent application publication.

                                                                                                                                    I Remove I
 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                                 □
 Prefix                           Given Name                        Middle Name                        Family Name                        Suffix

 I                          BI                                      I                                 I                                   I                         B
Mailing Address Information For Assignee including Non-Applicant Assignee:

 Address 1
 Address 2
 City                              11                                                  State/Province
 Country i                                                                             Postal Code
                  11
 Phone Number                                                                          Fax Number

 Email Address
Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
                                                                                                                                              Add
selecting the Add button.                                                                                                             I                 I




Signature:                                                                                                                                Remove

NOTE: This Application Data Sheet must be signed in accordance with 37 CFR 1.33(b). However, if this Application
Data Sheet is submitted with the INITIAL filing of the application and either box A or B is not checked in
subsection 2 of the "Authorization or Opt-Out of Authorization to Permit Access" section, then this form must
also be signed in accordance with 37 CFR 1.14(c).
      This Application Data Sheet must be signed by a patent practitioner if one or more of the applicants is a juristic
entity (e.g., corporation or association). If the applicant is two or more joint inventors, this form must be signed by a
patent practitioner, all joint inventors who are the applicant, or one or more joint inventor-applicants who have been given
power of attorney (e.g., see US PTO Form PTO/AIA/81) on behalf of all joint inventor-applicants.
     See 37 CFR 1.4(d) for the manner of making signatures and certifications.



 Signature       111an Gillies/                                                                            Date (YYYY-MM-DD)                   2019-01-16


 First Name       llan                      I Last Name I pillies                                          Registration Number                 p2,280

 Additional Signature may be generated within this form by selecting the Add button.                                                 I    Add
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        Case 5:24-cv-03615-EJD                              Document 82-2                      Filed 03/06/25                  Page 69 of 117

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                                                                  Attorney Docket Number                   MAX.409PR
Application Data Sheet 37 CFR 1. 76
                                                                  Application Number

Title of Invention        SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




This collection of information is required by 37 CFR 1.76. The information is required to obtain or retain a benefit by the public which
is to file (and by the USPTO to process) an application Confidentiality is governed by 35 U.S.C 122 and 37 CFR 1.14. This
collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
sheet form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to
complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR
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                                                             Privacy Act Statement




The Privacy Act of 1974 (P.L 93-579) requires that you be given certain information in connection with your submission of the attached form related to a patent
application or patent. Accordingly, pursuant to the requirements of the Act, please be advised that: (1) the general authority for the collection of this information
is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is used by the U.S. Patent and
Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not furnish the requested information, the U.S.
Patent and Trademark Office may not be able to process and/or examine your submission, which may result in termination of proceedings or abandonment of
the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

          The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552) and the Privacy
          Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice to determine whether the Freedom of
           Information Act requires disclosure of these records.

     2.    A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a court, magistrate, or administrative
           tribunal, including disclosures to opposing counsel in the course of settlement negotiations.

     3     A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an individual, to whom
           the record pertains, when the individual has requested assistance from the Member with respect to the subject matter of the record.

     4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in order to perform
          a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C.
          552a(m).

     5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed, as a routine use,
          to the International Bureau of the World Intellectual Property Organization, pursuantto the Patent CooperationTreaty.

     6.    A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security review (35 U.S.C. 181)
           and for review pursuant to the Atomic Energy Act (42 U.S.C. 21 S(c)).

     7.    A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or his/her designee, during an
           inspection of records conducted by GSA as part of that agency's responsibility to recommend improvements in records management practices and
           programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of
           records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make determinations about
           individuals.

     8.    A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuant to 35 U.5.C.
           122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use,
           to the public if the record was filed in an application which became abandoned or in which the proceedings were terminated and which application is
           referenced by either a published application, an application open to public inspections or an issued patent.

     9.    A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law enforcement agency, if the USPTO becomes
           aware of a violation or potential violation of law or regulation.




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                                  FIG. 2




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          FIG.3A                                          FIG. 3B




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                                   FIG.4




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                               FIG.SA




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                                FIG. SC




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                              FIG. 6   608




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                              FIG. 7

                               Uncoated metal foil
 Intermittent dry laminate                 (704)
                     (702)
                                                     702




                                702                        704




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        FIG.SA
                                                                                  FIG. 8B
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                                FIG. 9




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                Scatter Coater




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                                       FIG.10




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      SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE

                                        BACKGROUND
  Field
          [0001]     The described technology generally relates to energy storage devices, and
  specifically to simplified systems and methods for manufacturing dry electrodes for energy
  storage devices.


  Description of the Related Technology
          [0002]     Electrodes can be implemented within electrical energy storage cells,
  which are widely used to provide power to electronic, electromechanical, electrochemical,
  and other useful devices. Such cells include batteries such as primary chemical cells and
  secondary (rechargeable) cells, fuel cells, and various species of capacitors, including
  ultracapacitors. Electrodes can also be implemented within water purification systems.
  Decreasing the operating costs and improving the efficiencies of electrode manufacturing
  would be desirable.


                                          SUMMARY
          [0003]     For purposes of summaiizing the described technology, certain objects and
  advantages of the described technology are described herein.        Not all such objects or
  advantages may be achieved in any particular embodiment of the desc1ibed technology.
  Thus, for example, those skilled in the art will recognize that the described technology may
  be embodied or carried out in a manner that achieves or optimizes one advantage or group of
  advantages as taught herein without necessarily achieving other objects or advantages as may
  be taught or suggested herein.
          [0004]     One inventive aspect is a system for manufacturing a dry electrode for an
  energy storage device. The system includes a first dry electrode material delivery system
  configured to deliver a dry electrode material, a first calendering roll, a second calendering
  roll, and a controller. The second calendering roll is configured to form a first nip between
  the first calendering roll and the second calendering roll.   The first nip is configured to
  receive the dry electrode material from the first dry electrode material delivery system, and


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  form a dry electrode film from the dry electrode material. The controller is configured to
  control a rotational velocity of the second calendering roll to be greater than a rotational
  velocity of the first calendering roll.
          [0005]      In another aspect, the dry electrode film is not self-supporting.
          [0006]      In another aspect, the system further includes a third calendering roll
  configured to form a second nip between the third calendering roll and a calendering roll
  positioned adjacent to and upstream of the third calendering roll, the second nip configured to
  receive the dry electrode film from the first nip. In another aspect, the upstream adjacent
  calendering roll is the second calendering roll. In another aspect, the controller is further
  configured to control a rotational velocity of the third calendering roll to be greater than a
  rotational velocity of the second calendering roll.       In another aspect, the system further
  includes a current collector source configured to supply a current collector to the second nip,
  wherein the second nip is configured to receive the current collector and laminate the current
  collector to the dry electrode film to form a dry electrode. In another aspect, the system
  further includes a second dry electrode material delivery system configured to deliver a
  second dry electrode material. In another aspect, the first nip is configured to receive the
  second dry electrode material from the second dry electrode material delivery system and
  form a dry electrode film from the first and the second dry electrode material. In another
  aspect, the first and second dry electrode material are the same material. In another aspect,
  the system further includes a fourth calendering roll configured to fonn a third nip between
  the fourth calendering roll and a calendering roll positioned adjacent to and downstream of
  the fourth calendering roll, wherein the third nip is configured to receive the second dry
  electrode material from the second dry electrode material delivery system and form a second
  dry electrode film. In another aspect, the downstream adjacent calendering roll is the third
  calendering roll. In another aspect, the controller is configured to control a rotational velocity
  of the third calendering roll to be greater than a rotational velocity of the fourth calendering
  roll. In another aspect, the system further includes a current collector source configured to
  supply a current collector to the second nip, wherein the second nip is configured to receive
  the current collector and laminate the current collector to the first dry electrode film and the
  second dry electrode film to form a dual sided dry electrode.



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           [0007]    One inventive aspect is a laminator for manufacturing an intermittent
  electrode. The laminator includes a first calendering roll, a second calendering roll, one or
  more lamination actuators, and one or more gap control actuators.            The one or more
  lamination actuators are configured to provide a first force between the first calendering roll
  and the second calendering roll during lamination of an intermittent electrode. The one or
  more gap control actuators are configured to provide a second force to the first and second
  calendering rolls, wherein the second force opposes and counteracts the first force.
           [0008]    In another aspect, the laminator further includes a sensor and a controller.
  The sensor is configured to detect non-coated areas within an electrode film. The controller
  is configured to engage the one or more gap control actuators when the non-coated areas
  within the electrode film pass between the first and the second calendering rolls.
                         BRIEF DESCRIPTION OF THE DRAWINGS
           [0009]    FIG. 1 is a block diagram illustrating a process for manufacturing a dry
  electrode for an energy storage device.
           [0010]    FIG. 2 shows an apparatus for fanning a dry electrode film.
           [0011]    FIGs. 3A-B illustrate a side schematic view of a multi-roll calender
  system and a film made from said calender system, respectively.
           [0012]    FIG. 4 illustrates a detailed isometric view of a multi-roll calender system.
           [0013]    FI Gs. SA-C illustrate some of the operating steps of the system shown in
  FIG.4.
           [0014]    FIG. 6 illustrates a side schematic view of a combination
  calender/laminator machine to form a dry electrode.
           [0015]    FIG. 7 illustrates a side schematic view of an intermittently coated dry
  electrode according to an embodiment.
           [0016]    FIGs. 8A-B illustrate a side view and a front view of a laminator design.
           [0017]    FIG. 9 illustrates a funnel-shaped charging hopper.
           [0018]    FIG. 10 illustrates a calendering process comprised of a scatter coating
  process, a continuous belt calender process, a calender process, and a rewind process.




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                                   DETAILED DESCRIPTION
         [0019]      Energy storage devices such as lithium ion batteries have been relied on as
  a power source in numerous commercial and industrial uses, for example, in consumer
  devices, productivity devices, and in battery powered vehicles. However, demands placed on
  energy storage devices are continuously-and rapidly-growing. For example, the
  automotive industry is developing vehicles that rely on compact and efficient energy storage,
  such as plug-in hybrid vehicles and pure electric vehicles. Lithium ion batteries are well
  suited to meet future demands.
         [0020]      Key components of the storage potential of an energy storage device are
  electrodes. The electrochemical capabilities of electrodes, for example, the capacity and
  efficiency of battery electrodes, are governed by vaiious factors. For example, distribution of
  active material, binder and additive(s); the physical properties of materials therein, such as
  particle size and surface area of active material; the surface properties of the active materials;
  and the physical characteristics of the electrode film, such as density, porosity, cohesiveness,
  and adhesiveness to a conductive element. Dry processing systems and methods traditionally
  used a high shear and/or high pressure processing step to break up and commingle electrode
  film materials.   Such systems and methods may contribute to structural advantages over
  electrode films produced using a wet process. However, the high processing pressures and
  large amount of equipment (and thus, the large footprint) used to fmm dry, self-supporting
  electrode films and dry electrodes leave room for improvement.
         [0021]      The systems and methods provided herein can be implemented to
  manufacture dry electrode films and electrodes for various energy storage devices. As
  provided herein, an energy storage device can be a capacitor, a lithium ion capacitor (LIC), an
  ultracapacitor, a battery such as a lithium ion battery, or a hybrid energy storage device
  combining aspects of two or more of the foregoing.
         [0022]      The various embodiments of systems and methods herein provide
  improved manufacturing of a dry electrode film and dry electrode for use in energy storage
  devices. The disclosed embodiments can provide a simplified and cost-effective procedure
  for manufacturing energy storage devices.



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          [0023]       The materials and methods provided herein can be implemented in various
  electrodes for energy storage devices and/or water purification. As provided herein, an energy
  storage device can be a capacitor, a lithium ion capacitor (LIC), an ultracapacitor, a battery
  such as a lithium ion battery, or a hybrid energy storage device combining aspects of two or
  more of the foregoing. In some embodiments, the method and apparatus for forming dry
  electrode film, as described herein, allow continuous, multi-stripes, or inte1mittent form
  factor electrodes.
          [0024]       Embodiments of method and apparatus for fanning dry electrode film
  herein can provide one or more of the following advantages. Some embodiments allow for
  the fabrication of both thin and thick films in wide format, high precision low tolerance films,
  with adjustable densities. Some embodiments allow for films that are ultracapacitor (UCAP)
  or battery or Leap or fuel cell electrodes, or water purification electrodes or combination of
  electrodes. Some embodiments allow for the reduction in factory floor area, material handing
  requirements and number of operator personnel, by combining calendering, laminating,
  peeling and slitting into one machine. Some embodiments allow for enabling multilayer
  functional webs by using one or more dry electrode material delivery systems, such as
  powder delivery hoppers. Some embodiments allow increases in the available diversity of
  formulations that can be used to make films and electrodes (such as self-supporting dry
  electrode films and dry electrodes), e.g., lithium metal powder, silicon/silicon oxides,
  cathodic or anodic active materials infused within porous conductive carbons, e.g. molten
  sulfur and activated carbon, solid state electrolyte, or other air/moisture sensitive materials.
          [0025]       Additional features or advantages provided by embodiments herein
  include a continuous process from raw material (e.g., powder) to a laminated electrode
  without rewind/unwind of one or more layers used to form the electrode. A dry electrode
  film formed by the system/method is not (at least initially, or throughout the entire process)
  required to be self-supporting, as it can be positioned on and supported by a calendaring roll
  during at least some, if not all, of the process steps. For example, the dry electrode film can
  be supported by at least one calendering roll through all process steps within a multi roll
  calende1ing system, through and including the lamination step, when the dry electrode film is
  laminated with a current collector to form a dry electrode.



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         [0026]      Embodiments of the multi roll calender(s) herein can have additional
  attributes not found in conventional calendering. The number of calender nips can be from
  two (three rolls) to six (seven rolls) or more, but at lower process pressures and forces. Each
  roll can be individually driven with a motor and gear drive and can be individually
  addressable. Line loads in a multi calender system can be much lower than in conventional
  calender yet the system can be configurable to achieve thinner dry films.        Individual roll
  speeds can be controlled and individual gaps between each calender nip can be controlled.
  Individual roll temperatures can also be controlled. For example, in some embodiments, the
  final roll of the stacked multi roll system can be temperature controlled to assist with
  lamination of the dry electrode film(s) onto the current collector. Web handling can be
  simpler and easier, reducing or eliminating idler rolls within the web path.            In some
  embodiments, adjacent roll sets (either within a paired calender nip, or between two adjacent
  nips) can be rotated at different speeds. For example, each subsequent, downstream roll set
  (e.g., calender nip) can be configured to rotate faster than the previous. Additionally, each
  individual roll in a two-roll nip set can be configured to rotate differently than the other roll
  in the same two-roll nip set. These different speeds can provide sheer within a film, and/or
  can create forces that improve the adherence of the film to any given roll.
         [0027]      In some embodiments, gauges, such as Gamma gauges, can be used for
  film thickness or specific mass measurements for thickness control/measurement. Rollers
  can be fixed in a unique position with playless bearings (orientated but captured bearings may
  be required). Conical bearings or other bearing designs can be used for playless fixation of
  rolls, provided the low tolerances of desired film thickness are achieved. Embodiments do
  not require the same diameter rolls for each nip or for rolls within the nip. The face finish on
  the rolls could be a coating, (e.g., chrome or hard face ceramic) or even patterned as in an
  embossing roll.
         [0028]      In some embodiments, two, multiroll calenders can be aligned end to end,
  allowing a dry electrode film to be laminated directly to a metal foil (e.g., current collector)
  without first having to remove the film and taken to a separate machine. Thus, the same
  machine can provide direct lamination of either single sided or double sided electrode layers
  onto a current collector to form a single or double sided electrode.



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  MAX.409PR                                                                              PATENT


         [0029]      In some embodiments, the laminated electrode can either be continuous
  web or intermittent electrode designs. Peeling of non-laminated films from laminated webs
  can be used for both continuous webs and intermittent electrode designs.               In some
  embodiments, the current collectors that are used in the system can be pre-coated with
  adhesive, or the adhesive can be added to one side of the film through a separate powder
  hopper on the multiroll calender system, thus allowing direct lamination to the foil without
  first precoating the material.   A slitter can be added after the lamination step to slit the
  laminated web to the final electrode width and rewind the individual electrode rolls. In some
  embodiments, the machine can be designed to be self webbing. For example, using a
  continuous belt under the rolls, which can rise up during the webbing to ensure the web
  moves in the proper direction and to the next roll nip.
         [0030]      FIG. 1 is a block diagram illustrating a process for manufacturing a dry
  electrode for an energy storage device. FIG. 1 is a block diagram illustrating a process for
  making a dry electrode for an energy storage device. As used herein, the term "dry" implies
  non-use of liquid-phase solvents and additives in mixing and coating process of electrode
  during process steps described herein, other than during a final impregnating electrolyte step.
  The process shown in FIG. 1 begins by dry blending 18 dry active material particles 12, dry
  conductive pai1icles 18 and dry binder particles 16 to fonn a dry mixture. Furthermore, dry
  conductive particles 21 and dry binder particles 23 are also dry blended 19 to form a dry
  mixture which can be provided to the dry fibrillizing step 26 or 29. The dry mixture is
  fibrillized in a dry fibrillizing step 20 using, for example, a jet-mill (not shown). During the
  dry fibrillizing step 20, high shear forces are applied to the dry mixture in order to physically
  stretch it and form a network of thin web-like fibers. In a dry feed step 22, the respective
  separate mixtures of dry particles fmmed in steps 19 and 20 are provided to respective
  containers (not shown) to form a dry film. The dry film is subsequently dry compacted and
  calendared by a roll-mill or calendar 24 to provide an embedded/intennixed dry film or a
  self-supporting electrode film (or electrochemically active free-standing film). The
  embedded/intermixed dry film is attached to a current collector (e.g., metal foil) 28. A more
  detailed process of making an embedded/intermixed dry film including types of materials




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  forming the dry films and materials forming the current collector is disclosed in U.S. Patent
  No. 7,352,558, which is incorporated by reference herein in its entirety.
         [0031]      A self-supporting dry electrode film manufactured above may provide
  improved characteristics relative to a typical electrode film that is manufactured using a wet
  process. For example, a dry electrode film as provided herein may provide one or more of
  improved film strength, improved cohesiveness, improved adhesiveness, improved electrical
  perfonnance, or reduced incidence of defects. The defects may include holes, cracks, surface
  pits in the electrode film. The adhesiveness may be adhesiveness to a cmTent collector. The
  electlical perfonnance may be specific capacity. The film strength may be tensile strength.
         [0032]      FIG. 2 shows an apparatus for forming a structure of an electrode. The
  apparatus in FIG. 2 contains three inter-connected system portions, 100, 200 and 300. In 100,
  dry particles are initially stored in containers and are fed as free flowing dry particles to a
  high-pressure nip of a roll-mill. Separate streams of dry particles become inte1mixed and
  begin to lose their freedom of motion as the dry particles are fed towards the nip. An
  intermixed compacted dry self-supporting film exits component part 100 and enters
  component part 200. The compacted dry film, as it exits 100 must be a self-supporting film,
  in order to proceed further to portion 200 without falling apart. In order to be self-supporting,
  the film exiting the rolls in portion 100 has to be thicker than the actual desired electrode film
  thickness. Thus, in system portion 200, the self-supporting film is fed through a tension
  control system into a calendering system (shown as four larger vertical roles), with a plurality
  of nips which iteratively compact the density and decrease the thickness of the dry film closer
  to a desired thickness/density. The dry film exits component part 200 and enters system
  portion 300. Portion 300 comprises one or more idler rolls, dancer rolls, additional nips
  and/or a rewind/storage roll to further process the dry film into a final dry electrode film,
  which can be rolled in a rewind station.        The final, rolled electrode film can then be
  transferred to another machine for unwinding and laminating to a collector to form a dry
  electrode.
         [0033]      FIGs. 3A-B illustrate a side schematic view of a multi-roll calender
  system and a film made from said calender system, respectively. The calender system can
  include one or more dry electrode material delivery systems, such as powder delivery



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  hoppers.   For illustrative purposes, the system includes two powder hoppers, shown as
  powder hopper #1 and powder hopper #2. The particles sizes, density, porosity, and/or type
  of mate1ials, and/or other material characteristics in powder hopper #1 and powder hopper #2
  can be the same with respect to each other. The particles sizes, density, porosity, and/or type
  of materials, and/or other material characteristics in powder hopper #1 and powder hopper#
  2 can be different with respect to each other.
         [0034]       The calender machine as shown comprises six rolls, although more or less
  quantities of rolls can be implemented.      A downstream roll along the web path can be
  configured to rotate faster than the previous upstream roll. The increased downstream roll
  speed induces a shear in the film while in the roll nip causing the film to adhere to the faster
  rotating roll. An even further downstream roll can rotate even faster than the previous, and so
  forth, such that the film can remain adhered to all the rolls along the web path of the entire
  calender machine. This adherence can allow the film that is initially formed in the calender
  system in FIG. 3A to be formed from dry materials, but need not initially be self-supporting,
  because the film is supported and adhered to all the rolls along the web path. This adherence
  and support in tum can reduce or completely eliminate the need for idler rolls between roll
  nips, such as those described with reference to FIG. 2. The increased shear within the nip can
  also reduce the pressures and forces needed for calendering a film to a desired thickness,
  relative to other dry film equipment, such as that shown in FIG. 2. Thus, less complicated,
  and lower force (and thus smaller) equipment can be implemented, than that for the system in
  FIG. 2. Each roll temperature for the system in FIG. 3A can also be individually controllable.
  FIG. 3B illustrates a side view of a film made from a calender system such as that illustrated
  in FIG. 3A, when the particles in powder hopper #1 are different in size from the particles in
  powder hopper #2.
         [0035]       FIG. 4 illustrates a multi-roll calender system. The system has six rolls
  with one powder hopper, for illustrative purposes; greater or lesser quantities are possible.
  Each of the six rolls along the web path can be configured to rotate faster than the previous
  roll, for film adherence, as desc1ibed above. FIG. 4 shows individual motors (e.g., servo
  motors), the speed, acceleration, timing, etc., of which can be individually controlled with a
  controller (not shown). The controller can also be configured to control other aspects of the



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  system, such as to control the gap distance between the rolls, the temperatures of each roll,
  and/or other system parameters. A controller can be similarly implemented within the other
  system described herein.
         [0036]      FIGs. 5A-C illustrate some of the operating steps of the multi-roll
  calender system of FIG. 4. In FIG. SA, a powder is added to one roll nip section of the
  calender system. In FIG. SB, the film is transferred between the rolls without need for idler
  rolls. In FIG. SC, a doctor blade assists in the removal of film from the last roll. The film
  edges are trimmed and the film is then wound on a core.
         [0037]      FIG. 6 illustrates a combination calender/laminator system 600 which can
  manufacture two dry electrode films, and laminate them to a current collector, to form a
  double sided electrode. In FIG. 6, there are two dry electrode material delivery systems,
  shown as powder hoppers, 602 and 603 and four rolls, 604, 605, 606 and 607. A current
  collector 610 can be provided from a current collector source 608. A first dry electrode film
  620 can be formed by calendering particles from powder hopper 602 through a first nip
  fonned between rolls 604 and 605. A second dry electrode film 621 can be formed by
  calendering particles from powder hopper 603 tln·ough a second nip formed between rolls
  606 and 607. Both films 620 and 621 can be laminated onto a first and second opposing side,
  respectively, of the cmTent collector 610. The lamination can be provided by compressing
  (e.g., calendering) films 620 and 621, and current collector 610 between a third nip formed
  between roll 605 and 606.        In addition to lamination, this third nip may also provide
  additional calende1ing and tuning of the film thickness of films 620 and 621.                After
  lamination between rolls 605 and 606, the double sided electrode is collected for further
  processing, for example, via a rewind station 609. As illustrated in FIG. 6, the roll nips are
  positioned in sequence, and close together, which provides for continuous calendering and
  film thickness reduction, which reduces or completely negates the need for idler or dancer
  rolls. Each of the rolls in can be controlled for velocity, acceleration, speed, etc., as described
  elsewhere herein. The subsequent rolls each turn slightly faster than the last one allowing the
  film to follow the rolls to the last section where the film is pulled off the last roll and wound
  on a rewind.




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         [0038]     The system in FIG. 6 can be implemented to produce a single sided
  electrode, for example, by eliminating roll 607 and hopper 603, and without film 621.
  Additionally, rolls 604 and 607 are part of a belt-calender system as shown, in which the belt
  provides additional support and surface area for application of dry electrode material
  thereupon. One or more belt systems (like rollers 604 and 607) or non-belt systems (like
  rollers 605 and 606), or combinations thereof, can be implemented within any of the
  embodiments herein.
         [0039]     FIG. 7 illustrates an intermittently coated dry electrode according to an
  embodiment. An intermittent electrode includes intermittently coated portions 702 with gaps
  x therebetween without coating, to form uncoated foil portions 704. At least one of the
  uncoated foil portions 704 can be used for electrically connecting the electrode to other
  elements such as an electrode tab.
         [0040]     FIGs. 8A-B illustrate a side view and a front view of a laminator
  embodiment. The laminator can be implemented within a system such as system 600 in FIG.
  6. The rolls in the laminator of FIGs. 8A-8B can be similar to rolls 605, 606 in FIG. 6. The
  laminator can include one or more lamination actuators, such as pressure cylinders 804 which
  provide the main force which laminates the current collector and electrode film being fed
  through the laminator to form the electrode. However, during lamination of an intermittent
  electrode, such as that shown in FIG. 7, the rolls in the laminator can slam together when
  being compressed against the uncoated (foil only) portions 704. To reduce this slamming
  effect, the laminator can include one or more gap control actuators, such as cylinders 802
  configured to oppose the forces in cylinders 804, and provide constant gap during lamination
  in non-coated areas. A sensor (FIG. 8A) can be configured to detect non-coated or non-
  laminated areas. When detected non-coated or non-laminated area is detected, gap control
  cylinders 802 are engaged, to counteract the lamination pressure of the main force cylinders.
  The gap is maintained and the rolls do not slam into the non-coated areas which would
  otherwise defonn or break the intermittent laminated web.
         [0041]     FIG. 9 illustrates a funnel-shaped charging hopper which can be
  implemented within embodiments of the systems and methods described herein. The hopper
  can be supplied with bulk material by means of suction or worm conveyers. Inside the



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  charging hopper the bulk material is uniformly distributed and the level is kept constant
  during the scattering process. Cavity formation and decomposition of the material is avoided
  through a special mixer. The rotary mete1ing roller is fixed to the bottom side of the charging
  hopper. The size of the cells of the metering roller are selected according to the grain size of
  the bulk mate1ial. The bulk material is picked up by the metering roller and stripped at a
  flexible doctor blade. After that the accurately dosed bulk material is conveyed to an
  oscillating brushing device. Following the brushing process the bulk material will be
  examined and transferred to the subjacent substrate line.
            [0042]   FIG. 10 illustrates a calende1ing process comprised of a scatter coating
  process, a continuous belt calender process, a calender process, and a rewind process. A
  scatter coater can deposit a very thin layer of powder onto the belt and when the thin layer is
  calendered through the nip of the calender rolls, results in fabrication of a thin film. The
  powder is collected within the groves or bristles of the main rotating drum then a secondary
  rotating brush removes the powder from the groves or bristles allowing the powder to deposit
  onto the moving belt. Once the powder is compressed into a film within the first nip, the film
  will travel through the subsequent nips to achieve the desired thickness and or density.
            [0043]   An energy storage device as provided herein can be of any suitable
  configuration, for example planar, spirally wound, button shaped, •       u.n.,1te,ct, or pouch. An

  energy storage device as provided herein can be a component of a system, for example, a
  power generation system, an uninterruptible power source systems (UPS), a photo voltaic
  power generation system, an energy recovery system for use in, for example, industrial
  machinery and/or transportation. An energy storage device as provided herein may be used to
  power various electronic device and/or motor vehicles, including hybrid electric vehicles
  (HEV), plug-in hybrid electric vehicles (PHEV), and/or electric vehicles (EV).
            [0044]   As used herein, the terms "battery" and "capacitor" are to be given their
  ordinary and customary meanings to a person of ordinary skill in the art. The tem1s "battery"
  and "capacitor" are nonexclusive of each other. A capacitor or battery can refer to a single
  electrochemical cell that may be operated alone, or operated as a component of a multi-cell
  system.




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         [0045]      Features, materials, characte1istics, or groups described in conjunction
  with a particular aspect, embodiment, or example are to be understood to be applicable to any
  other aspect, embodiment or example described in this section or elsewhere in this
  specification unless incompatible therewith. All of the features disclosed in this specification
  (including any accompanying claims, abstract and drawings), and/or all of the steps of any
  method or process so disclosed, may be combined in any combination, except combinations
  where at least some of such features and/or steps are mutually exclusive. The protection is
  not restricted to the details of any foregoing embodiments. The protection extends to any
  novel one, or any novel combination, of the features disclosed in this specification (including
  any accompanying claims, abstract and drawings), or to any novel one, or any novel
  combination, of the steps of any method or process so disclosed.
         [0046]      Furthe1more, certain features that are described in this disclosure in the
  context of separate implementations can also be implemented in combination in a single
  implementation. Conversely, various features that are described in the context of a single
  implementation can also be implemented in multiple implementations separately or in any
  suitable subcombination. Moreover, although features may be described above as acting in
  certain combinations, one or more features from a claimed combination can, in some cases,
  be excised from the combination, and the combination may be claimed as a subcombination
  or variation of a subcombination.
         [0047]      Moreover, while operations may be depicted in the drawings or described
  in the specification in a particular order, such operations need not be performed in the
  particular order shown or in sequential order, or that all operations be perfom1ed, to achieve
  desirable results. Other operations that are not depicted or described can be incorporated in
  the example methods and processes. For example, one or more additional operations can be
  performed before, after, simultaneously, or between any of the described operations. Further,
  the operations may be rearranged or reordered in other implementations. Those skilled in the
  art will appreciate that in some embodiments, the actual steps taken in the processes
  illustrated and/or disclosed may differ from those shown in the figures. Depending on the
  embodiment, certain of the steps described above may be removed, others may be added.
  Furthennore, the features and attributes of the specific embodiments disclosed above may be



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  combined in different ways to form additional embodiments, all of which fall within the
  scope of the present disclosure. Also, the separation of various system components in the
  implementations described above should not be understood as requiting such separation in all
  implementations, and it should be understood that the described components and systems can
  generally be integrated together in a single product or packaged into multiple products. For
  example, any of the components for an energy storage system described herein can be
  provided separately, or integrated together (e.g., packaged together, or attached together) to
  form an energy storage system.
          [0048]      For purposes of this disclosure, certain aspects, advantages, and novel
  features are described herein.     Not necessa1ily all such advantages may be achieved in
  accordance with any particular embodiment. Thus, for example, those skilled in the art will
  recognize that the disclosure may be embodied or caITied out in a manner that achieves one
  advantage or a group of advantages as taught herein without necessarily achieving other
  advantages as may be taught or suggested herein.
          [0049]      Conditional language, such as "can," "could," "might," or "may," unless
  specifically stated otherwise, or otherwise understood within the context as used, is generally
  intended to convey that certain embodiments include, while other embodiments do not
  include, certain features, elements, and/or steps.      Thus, such conditional language is not
  generally intended to imply that features, elements, and/or steps are in any way required for
  one or more embodiments or that one or more embodiments necessarily include logic for
  deciding, with or without user input or prompting, whether these features, elements, and/or
  steps are included or are to be performed in any particular embodiment.
          [0050]      Conjunctive language such as the phrase "at least one of X, Y, and Z,"
  unless specifically stated otherwise, is otherwise understood with the context as used in
  general to convey that an item, term, etc. may be either X, Y, or Z. Thus, such conjunctive
  language is not generally intended to imply that certain embodiments require the presence of
  at least one of X, at least one of Y, and at least one of Z.
          [0051]      Language of degree used herein, such as the terms "approximately,"
  "about," "generally," and "substantially" as used herein represent a value, amount, or




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  characteristic close to the stated value, amount, or characteristic that still perfonns a desired
  function or achieves a desired result.
         [0052]       The scope of the present disclosure is not intended to be limited by the
  specific disclosures of embodiments in this section or elsewhere in this specification, and
  may be defined by claims as presented in this section or elsewhere in this specification or as
  presented in the future. The language of the claims is to be interpreted broadly based on the
  language employed in the claims and not limited to the examples described in the present
  specification or during the prosecution of the application, which examples are to be construed
  as non-exclusive.
         [0053]       While ce11ain embodiments have been described, these embodiments have
  been presented by way of example only, and are not intended to limit the scope of the
  disclosure. Indeed, the novel methods and systems described herein may be embodied in a
  variety of other fom1s.    Furthermore, various omissions, substitutions and changes in the
  systems and methods described herein may be made without departing from the spirit of the
  disclosure. The accompanying claims and their equivalents are intended to cover such fom1s
  or modifications as would fall within the scope and spirit of the disclosure. Accordingly, the
  scope of the present inventions is defined only by reference to the appended claims.




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  WHAT IS CLAIMED IS:
          1. A system for manufacturing a dry electrode for an energy storage device,
  comprising:
                 a first dry electrode material delivery system configured to deliver a dry
         electrode material;
                 a first calendering roll;
                 a second calendering roll configured to fmm a first nip between the first
         calendering roll and the second calendering roll, the first nip configured to receive the
         dry electrode material from the first dry electrode material deli very system, and form
          a dry electrode film from the dry electrode material; and
                 a controller configured to control a rotational velocity of the second
         calendering roll to be greater than a rotational velocity of the first calendering roll.
          2. The system of Claim 1, wherein the dry electrode film is not self-supporting.
          3. The system of Claim 1, further comprising a third calendering roll configured to
  form a second nip between the third calendering roll and a calendering roll positioned
  adjacent to and upstream of the third calendering roll, the second nip configured to receive
  the dry electrode film from the first nip.
         4. The system of Claim 3, wherein the upstream adjacent calendering roll is the
  second calendering roll.
         5. The system of Claim 3, wherein the controller is further configured to control a
  rotational velocity of the third calendering roll to be greater than a rotational velocity of the
  second calendering roll.
          6. The system of Claim 3, further comprising a cmTent collector source configured to
  supply a current collector to the second nip, wherein the second nip is configured to receive
  the current collector and laminate the current collector to the dry electrode film to form a dry
  electrode.
         7. The system of Claim 3, further comprising:
                 a second dry electrode material delivery system configured to deliver a second
         dry electrode material.




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          8. The system of Claim 7, wherein the first nip is configured to receive the second
  dry electrode material from the second dry electrode material delivery system and form a dry
  electrode film from the first and the second dry electrode material.
          9. The system of Claim 7, wherein the first and second dry electrode material are the
  same material.
          10. The system of Claim 7, further comprising a fourth calendering roll configured to
  form a third nip between the fourth calendering roll and a calendering roll positioned adjacent
  to and downstream of the fourth calendering roll, wherein the third nip is configured to
  receive the second dry electrode material from the second dry electrode material delivery
  system and fom1 a second dry electrode film.
          11. The system of Claim 10, wherein the downstream adjacent calende1ing roll is the
  third calendering roll.
          12. The system of Claim 10, wherein the controller is configured to control a
  rotational velocity of the third calendering roll to be greater than a rotational velocity of the
  fourth calendering roll.
          13. The system of Claim 10, further comprising a current collector source configured
  to supply a current collector to the second nip, wherein the second nip is configured to
  receive the current collector and laminate the current collector to the first dry electrode film
  and the second dry electrode film to form a dual sided dry electrode.
          14. A laminator for manufacturing an intermittent electrode, comprising:
                   a first calendering roll;
                   a second calendering roll;
                   one or more lamination actuators configured to provide a first force between
          the first calendering roll and the second calendering roll during lamination of an
          intermittent electrode; and
                   one or more gap control actuators configured to provide a second force toe the
          first and second calendering rolls, wherein the second force opposes and counteracts
          the first force.
          15. The laminator of Claim 14, further comprising a sensor and a controller, the
  sensor configured to detect non-coated areas within an electrode film, and the controller



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   configured to engage the one or more gap control actuators when the non-coated areas within
   the electrode film pass between the first and the second calendering rolls.




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        SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE


                                              ABSTRACT


              [0054]   A system and methods for manufacturing a dry electrode for an energy
   storage device are disclosed.     The system includes a first dry electrode material delivery
   system configured to deliver a dry electrode mate1ial, a first calendering roll, a second
   calendering roll, and a controller. The second calendering roll is configured to form a first
   nip between the first calendering roll and the second calendering roll.       The first nip us
   configured to receive the dry electrode material from the first dry electrode material delivery
   system, and form a dry electrode film from the dry electrode material. The controller is
   configured to control a rotational velocity of the second calendering roll to be greater than a
   rotational velocity of the first calendering roll.




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                               Electronic Patent Application Fee Transmittal

 Application Number:

 Filing Date:




 Title of Invention:                                     SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




 First Named Inventor/Applicant Name:                    Porter Mitchell


 Filer:                                                  Ian W. Gillies/David Pacheco


 Attorney Docket Number:                                 MAX.409PR


 Filed as Large Entity


Filing Fees for Provisional


                                                                                                         Sub-Total in
                          Description                            Fee Code        Quantity   Amount
                                                                                                           USD($)


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                 PROVISIONAL APPLICATION FILING                     1005                1    280             280


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                                                                                    Sub-Total in
                     Description              Fee Code   Quantity      Amount
                                                                                      USD($)


Extension-of-Time:


Miscellaneous:


                                                    Total in USD ($)                280




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                                       Electronic Acknowledgement Receipt

                          EFS ID:                               34878848


                  Application Number:                           62793333


         International Application Number:

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                    Title of Invention:                         SYSTEM AND METHODS FOR MANUFACTURING A DRY ELECTRODE




       First Named Inventor/Applicant Name:                     Porter Mitchell


                   Customer Number:                             20995


                           Filer:                               Ian W. Gillies/Tony Do


                   Filer Authorized By:                         Ian W. Gillies


               Attorney Docket Number:                          MAX.409PR


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      37 CFR 1.17 (Patent application and reexamination processing fees)



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File Listing:
Document                                                                                         File Size(Bytes)/                        Multi              Pages
                    Document Description                             File Name
 Number                                                                                          Message Digest                          Part /.zip        (if appl.)

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     1                Application Data Sheet                          ADS.pdf                                                               no                 9
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Warnings:
Information:

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                Drawings-other than black and white
     2                                                              Drawings.pdf                                                            no                 12
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     3                                                            Specification.pdf                                                         yes                19
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                                              Specification                                                      1                                    15



                                                 Claims                                                         16                                    18



                                                Abstract                                                        19                                    19


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     4                 Fee Worksheet (SB06)                          fee-info.pdf                                                           no                 2
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This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105} will be issued in due course, subject to prescriptions concerning
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the application.




                                                                                                      MATTH EWS-00006569
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 1            EXHIBIT 13 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
               OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
 2                          TEMPORARY RESTRAINING ORDER
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       CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
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     Case 5:24-cv-03615-EJD       Document 82-2   Filed 03/06/25   Page 108 of 117



 1            EXHIBIT 1 TO THE DECLARATION OF -$&2%0,//(5 IN SUPPORT
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     Case 5:24-cv-03615-EJD       Document 82-2   Filed 03/06/25   Page 109 of 117



 1            EXHIBIT 1 TO THE DECLARATION OF -$&2%0,//(5 IN SUPPORT
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 1            EXHIBIT 17 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
               OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
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       CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
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 1            EXHIBIT 18 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
               OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
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       CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
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Tesla several years ago selected Matthews to be one of its suppliers.
Photo: Sean Gallup/Getty Images
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    Write to Sabela Ojea at sabela.ojea@wsj.com

https://www.wsj.com/business/autos/tesla-sues-ev-battery-supplier-matthews-over-alleged-disclosure-of-trade-
secrets-6cba1632
     Case 5:24-cv-03615-EJD       Document 82-2   Filed 03/06/25   Page 115 of 117



 1            EXHIBIT 19 TO THE DECLARATION OF JACOB MILLER IN SUPPORT
               OF DEFENDANT’S OPPOSITION TO PLAINTIFF'S MOTION FOR A
 2                          TEMPORARY RESTRAINING ORDER
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       CASE NO. 24-cv-03615-EJD                                               Opposition to Tesla’s
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      Tesla electric vehicle chargers are seen during a sunset at a
      petrol station in Xinzo de Limia, Spain June 10, 2024.
      REUTERS/Nacho Doce




June 17 (Reuters) - Tesla (TSLA.O), opens new tab has sued its former supplier Matthews
International (MATW.O), opens new tab in California federal court for allegedly stealing trade secrets
related to Tesla's battery-manufacturing process and sharing them with the electric-vehicle giant's
competitors.

The lawsuit, opens new tab, filed on Friday in U.S. District Court for the Northern District of California,
said Matthews owes damages that Tesla "conservatively estimates will exceed $1 billion" for misusing
company trade secrets related to dry electrode battery manufacturing technology.

June 17 (Reuters) - Tesla (TSLA.O), opens new tab has sued its former supplier Matthews
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     Case 5:24-cv-03615-EJD                    Document 82-2              Filed 03/06/25   Page 117 of 117



The lawsuit, opens new tab, filed on Friday in U.S. District Court for the Northern District of California,
said Matthews owes damages that Tesla "conservatively estimates will exceed $1 billion" for misusing
company trade secrets related to dry electrode battery manufacturing technology.

The lawsuit said Matthews shared Tesla's innovations with unnamed competitors by selling
"machines and other technologies embodying Tesla's trade secrets." It also said Matthews claimed
Tesla's inventions as its own in patent filings that have revealed confidential Tesla information.

Tesla asked the court to block Matthews from misusing its trade secrets and hand over its patent
applications in addition to requesting monetary damages.

Reporting by Blake Brittain in Washington Editing by David Bario and Nick Zieminski

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https://www.reuters.com/business/autos-transportation/tesla-sues-ex-
supplier-matthews-over-ev-battery-trade-secrets-2024-06-17/
